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                                     THE COURT OF APPEALS

                                ELEVENTH APPELLATE DISTRICT

                                    TRUMBULL COUNTY, OHIO


    STATE OF OHIO,
                                                            o PIN 1'0 N

                   Plaintiff-Appellee,
                                                            CASE NO. 2004- T -0089
          . vs -

   NATHANIEL JACKSON,                                                     FILED
                                                                      COURTOF APPEALS

                   Defendant-Appellant.                                   MAR 0 a 200S

                                                                      TRUMBULL COUNTY; OH
                                                                    KAREN INFANTE ALLEN, CLERK
   Civil Appeal from the Court of Common Pleas, Case No. 2001 CR 794.

  Judgment Affirmed.


  Dennis Watkins, Trumbull County Prosecutor, and LuWayne Annas, Assistant
  Prosecutor, Administration Building, Fourth Floor, 160 High Street, N.W., Warren, OH
  44481.1092 (For Plaintiff-Appellee).

  David H. Bodiker, Ohio Public Defender, and Randall L. Porter, Assistant State Public
  Defender, 8 East long Street, 11th Floor, Columbus, OH 43215-2998 (For Defendant.
  AppeHant).




JUDITH A. CHRISTlEY, J., Ret., Eleventh Appellate District, sitting by assignment.

       (~1) The instant appeal emanates from a final judgment of the Trumbull County

Court of Common Pleas. Appellant, Nathaniel Jackson, seeks the reversal of the trial

court's decision to dismiss his original and amended petitions for postconviction relief

from his underlying criminal conviction. For the following reasons, this court holds that

appellant has failed to demonstrate any reversible error.

      (~2) In November 2002, following a jury trial of approximately four weeks,

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  appellant was found guilty of two counts of aggravated murder, one count of aggravated

  burglary, and one count of aggravated robbery. Under both of the aggravated murder

  counts, the jury also returned a guilty verdict on two death penalty specifications. In

  addition, under each of the aggravated burglary and aggravated robbery counts, he was

 found guilty of a firearm specification.

             f4T3) The foregoing charges against appellant were based upon the shooting
 death of Robert S. Fingerhut in December 2001. At the time of
                                                                     his death, Fingerhut was
 residing with his former wife, Donna Roberts, at a home in Howland Township, Ohio.

 During the months prior to the incident, Roberts had been exchanging letters with

 appellant while he was being held in a state prison on a prior criminal offense. As part

 of these letters, Roberts and appellant specifically discussed a plan under which

 appellant would murder Fingerhut so that Roberts could collect the proceeds from

 Fingerhut's insurance policies.

           f4T4) Appellant was released from prison on December 9, 2001. Just two days

later, the local police responded to a 9.1-1 call which Roberts had placed from the home

she shared with Fingerhut. Once the police had arrived at the scene, Roberts informed

them that when she had returned home that evening, she had found Fingerhut dead on

their kitchen floor with three bullet wounds to his body. Roberts also informed the police

that Fingerhut's car had been stolen from their garage.

          (415) During the ensuing investigation, Roberts gave the police her consent to
search the home she had shared with Fingerhut. As part of this search, tl:e police

found some of the letters appellant had sent to Roberts from the state prison. At a

subsequent point of the investigation, the police not only found some of Roberts' letters



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  to appellant, but also learned that she had placed a number of telephone calls to him at

  the prison in the weeks immediately prior to his release. In addition, it was discovered

  that, on the evening of the murder, Roberts had rented a motel room in which the police

  later found blood and bandages.

        t~6) In reviewing the letters between Roberts and appellant, the police noticed

 that he had requested that she purchase a specific type of glove to use in committing

 the murder. When the police subsequently found appellant in a home in Youngstown,

 Ohio, he had in his possession a set of gloves which were similar to the gloves

 described in the letter. Besides having gun residue and blood on it, one of the gloves

 found on appellant had a hole on the index finger which was consistent with an injury

 appellant had. Moreover, when the police located Fingerhut's vehicle also In
 Youngstown, they found bloodstains which matched the DNA profile of appellant.

       (~7) Following his arrest, appellant admitted to the police that he had shot
Fingerhut, but asserted that he had acted in self-defense. Under appellant's version of

the events, the two men had met when appellant had asked Fingerhut for a job at his

business in Youngstown. After appellant had helped Fingerhut purchase certain ilicit

drugs, Fingerhut drove the men back to Fingerhut's home. While -at the home, the men

started to argue and Fingerhut allegedly drew a gun on appellant. Appellant claimed he

was eventually able to take the gun from Fingerhut, but the gun went off several times

and injured both of them. After the incident, appellant took Fingerhut's car to escape,

and then discarded both the gun and the car in Youngstown.

      t'S) At the subsequent trial, the state presented evidence which tended to
refute the version of events provided by appellant. For example, the state's evidence



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   indicated in part that no one had seen appellant at Fingerhut's place of business on the

  evening of the murder. There was evidence that Roberts and appellant had planned for

  appellant to already be inside the home before Fingerhut arrived from work. The state's

  evidence also tend"ed to establish that Fingerhut had suffered certain defensive wounds,

  that one of the bullets fired at him had hit him in the back, and that the "fatal" bullet had

  been fired through the top of his skull from a short distance. In addition, the state
  demonstrated that Fingerhut's life was insured under two policies which would have

  paid death benefits to Roberts in the sum of $550,000.

        f'í9j As was noted above, the jury accepted the state's evidence and found
 appellant guilty of the murder and the two underlying offenses. The state then

 dismissed one of the two aggravated murder charges, and a one.day mitigation hearing

 was conducted in November 2002, During this separate proceeding, appellant's trial

 counsel presented the testimony of one expert witness and five lay witnesses. This

 evidence was intended to show that appellant had certain antisocial tendencies due to a

 lack of a father figure during his childhood; that he had attention deficit disorder; and,

that he had been infatuated with Roberts, Notwithstanding this evidence, the jury found

that the aggravating circumstances of the case outweighed the mitigating facts, and

therefore recommended that the death penalty be imposed.

       f'ílOj After independently weighing the aggravating circumstances and the
mitigating facts, the trial court also held that the imposition of the death penalty was

appropriate in the instant case. In addition, the trial court imposed separate
                                                                          '.
                                                                               sentences

on the charges of aggravated burglary, aggravated robbery, and the merged firearm

specifications. In January 2003, appellant then filed a direct appeal from his conviction



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   and sentence to the Supreme Court of Ohio. Upon full consideration of the matter, the

   Supreme Court upheld appellant's basic conviction and the imposition of the death
  penalty, See State v, Jackson, 107 Ohio St.3d 300, 2006-0hio-1.

              fl;l1) Approximately one year after taking his direct appeal, appellant filed his
  original     petition for postconviction relief under R.C. 2953.21. Nearly ninety days later,

  appellant then submitted an amended petition for such relief. Under the new petition,

  he asserted fifteen separate claims for relief, Under the majority of these claims,

 appellant argued that he had been denied effective assistance of trial counsel during the

 penalty phase of his triaL. For example, he contended under one claim that the
 performance of his trial counsel had been deficient because they had not obtained the

 services of a specialist in mitigation. Four of appellant's remaining claims raised issues

 of possible discrimination in the manner in which the grand jury proceedings and the

 petit trial had been conducted, Finally, appellant also challenged the constitutionality of

 Ohio's execution procedure and the statutory procedure for postconviction relief. In

support of his various claims, he submitted two volumes of exhibits.

             f~12) In responding to the two petitions, the state moved the trial court to
dismiss each of the claims without a hearing on the basis that appellant had not made a

prima facie showing that his constitutional rights had been violated during his triaL. In

June 2004, the trial court rendered a thirty-three page judgment in which it dismissed

each of the claims raised by appellant. As to all of the claims in both petitions, the trial

court held that appellant had failed to establish substantive grounds to warrant any"




postconviction relief. The trial court further held that many of the claims were barred

under res judicata because the issues either were, or could have been, raised in his



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    postconviction relief in this state, the Supreme Court of Ohio has stated that there is no

   specific requirement that civil discovery must be afforded to the defendant in this type of

   proceeding. State ex reI. Love v. Cuyahoga Cty. Prosecutor's Office (1999), 87 Ohio

   St.3d 158. As a result, the decision".to grant discovery in a given situation lies within the

  sound discretion of the trial judge. State v. Davie, 11 th Dist. No. 2000- T-01 04, 2001-


  Ohio.8813. Furthermore, it has been expressly held that if the trial court concludes that

  the petitioner has failed to state substantive grounds to warrant an evidentiary hearing

  on a petition, that court does not abuse its discretion in overruling a request for

  discovery. State v. Samatar, 10th Oist. No. 03AP-1057, 2004-0hio.2641.

              f~22J As will be discussed below, this court holds that the trial court in the
 instant case did not err in concluding that none of appellant's claims for relief were

 sufficient to state substantive grounds for reversing his conviction. Under such
 circumstances, it follows that the trial court did not abuse its discretion in denying any

 civil discovery to appellant. Thus, the first assignment in this appeal
                                                                               lacks merit.

            f~23J In conjunction with his requests for discovery, appellant also moved the
trial court for the appointment of unspecified experts to assist in preparing additional

materials in support of his two petitions. Similar to the analysis it employed regarding

the discovery matters, the trial court overruled this separate motion on the grounds that

no experts were needed because appellant had failed to satisfy his initial burden in

submitting his petitions. Under his second assignment, appellant asserts that the trial
court's analysis on this question was also flawed.

           f~24l Like the discovery issue, this court has already addressed the question of
the appointment of an expert in a postconviction proceeding. In State v. Willams (Oct.



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  to counsel is not the same as a constitutional right to counsel; hence, these courts have

  held that the provisions of R.C. 2953.21 (I) has no effect upon the validity of their logic

 as to whether there is a constitutional right to an appointed expert. For example, in

 State v. Monroe, 10th Dist. No, 04AP.658,~005-0hio-5242, the court first noted that,

 although R.C. 2953.21 (I) provided for the appointment of counsel in a postconviction

 proceeding, it did not have any provision for the appointment of experts. Upon then

 referring again    to the Ohio Supreme Court precedent as to the lack of a constitutional

 right to counsel, the Monroe court stated that it would not recognize a constitutional right

 to an appointed expert based entirely upon a statutory right to counsel: "There is no

 authority holding that a corresponding constitutional right would exist to provide

 appointment of an expert *** predicated upon the specific statutory entitlement to

 counsel in a proceeding in which a constitutional right to counsel would not attach."

 Monroe, at iT15. Pursuant to this analysis, appellant has failed to establish any flaw in

our Wiliams holding.

           r~28J This court has recently recognized an exception to the Williams logic when

the petitioner has asserted a question as to whether he is mentally retarded. See State

v. Lorraine, 11th Dist. No. 2003- T.0159, 2005-0hio-2529. However, although this court

held that an expert should be appointed for purposes of the "mental retardation" issue

prior to any determination on the final merits of the petition, there was no indication in

Lorraine that the court intended to invalidate the general holding of Wiliams.

          r~29l In contesting the trial court's denial of his request for experts in the instant
case, appellant has not specifically raised the "mental retardation" issue in the context




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  of thisassignment.1 Furthermore, this court would reiterate that, except for his request

  for a psychologist, appeflant's expert requests before the trial court were framed in

  general terms. Accordingly, because we conclude that appeflant's petitions failed to

  state any substantial grounds warranting an evidentiary hearing, the trialicourt did not

  err in this instance in denying the motion for the appointment of experts. Under this

  analysis, the second assignment does not have merit.

             t~30J Appellant's next assignment also chaflenges the procedure which was
 followed by the trial court prior to the granting of the motion to dismiss. As part of his

 original and amended petitions, appeflant asked that the state be required
                                                                                           to give him

 access to two documents which were aflegedly contained in the prosecutor's file.

 Appellant st?ted that the documents would assist him in supporting two of his claims for

 relief. Under his third assignment, he essentiafly contends that the trial court erred in

 not compelling the state to release the documents in question.

            tfì31) As to this point, this court would first note that the Supreme Court of Ohio

 has held that the prosecution's duty to provide discovery under Crim.R 16 does not

extend beyond the conclusion of the criminal triaL. Love, supra. Furthermore, it has

been held that a criminal defendant cannot employ RC. 149.43 to gain access to the

prosecutor's file when discovery under Crim.R 16 is not permissible. State v. Twyford,

7th Dist. No. 98-JE-56, 2001.0hio.3241. Accordingly, because appellant was not
entitled to access the state's documents as part of the postconviction proceedings, the

state could not be compelled to release any documents in this instance. . For this

reason, appellant's third assignment of error is not well.taken.


1, Although appellant has raised certain questions pertaining to his intelligence level under his sixth
assignment, no such issues have been asserted in his second assignment of error.

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         fl;32J In his fourth assignment, appellant submits that certain aspects of the trial
  court's judgment on his postconviction petitions should be reversed because the court

  erred in considering improper information. Specifically, appellant asserts that the trial

  court incorrectly rç;J)ed
                      '"
                            upon its own personal knowledge of certain "facts" in disposing of

  some of his claims for relief. Based on this, he argues that the trial judge should have

  recused himself so that the issues in question could be reviewed by an unbiased judge.

         f~r33J In raising the foregoing issue, appellant refers to two general instances in

 which the trial judge cited his personal knowledge in explaining his reasoning for
 rejecting a claim. The first instance occurred when the trial judge was reviewing

 appellant's contention that, at the outset of the guilt phase of the underlying trial, he had

 given the trial judge a letter in which he stated that he was not satisfied with the

 peiiormance of his trial counseL. In ruling upon this contention, the trial judge first stated

 in his final judgment that he could not recall receiving this letter. Even so, the trial judge

 concluded that appellant had not shown that he had been unable to communicate with

 his counsel, since the trial judge could recall specific instances during the trial in which

he had observed appellant conversing with his counseL.

       ff¡34j As to this point, this court would indicate that the information to which the
trial judge referred in his judgment was predicated on observations he had made during

the course of appellant's triaL. In considering the effect of a trial judge's knowledge of

prior proceedings in a case, the cOUlis of this state have held that such knowledge does

not warrant the judge's recusal from further proceedings in the same matter:

       ff¡35J "A judge need not recuse himself on the basis that he acquired knowledge

of the facts during a prior proceeding. State v. D'Ambrosjo (1993), 67 Ohio St,3d 185,



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  188 ***. What a judge learns in his judicial capacity, whether from pretrial proceedings,

  co-defendant pleas, or evidence presented in a prior case, is properly considered as

 judicial observations and creates no bias requiring recusal. Id. In this case, the mere

 fact that the same trial judge presided over separate proceedings involving both

 appellant and a co.defendant does not require the judge to disqualify himself." In re:

 Daniel E. (1997),122 Ohio App.3d 139,140-141.

         f~36J Of course, the issue of whether a judge should recuse himself is separate

 from the question of the extent to which he can rely upon his prior knowledge in making

 a judicial determination. If the prior knowledge stems from a distinct legal proceeding,

 the judge cannot rely upon it at alL. This court has consistently held that a trial judge

 cannot take judicial notice of events in other legal cases, even if the prior cases involved

the same parties. See Frinkley v. Meeker, 11th Dist No. 2004-P-0022, 2004.0hio.6696;

 State v. Raymundo (Aug. 18, 1995), 11th Dist. No. 94-T-5025, 1995 Ohio App. LEXIS

3395. However, the foregoing basic rule does not apply to prior events within the same

action; i.e., a trial judge can take judicial notice of prior matters before him in the same

case. In re: Veverka (Sept. 30, 1999), 11th Dist. No. 98-A.0053, 1999 Ohio App. LEXIS

4654.

        r~137J In the instant case, the trial judge indicated in the appealed judgment that,

during trial, he had observed appellant interacting with his trial attorneys. The trial judge

further stated in the judgment that the transcript of the trial contained specific references

to communications between appellant and his counseL. By citing to the transcript in

support of his observations, the trial judge was implicitly taking judicial notice of a

proceeding before him in the same case. Under the foregoing precedent, the trial


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  judge's reliance upon the trial transcript was permissible under the Ohio Rules of
  Evidence.

         f~38) If the trial judge's reference to his observations had not been supported by
  citations to the trial transcript, the outcome of our analysis on this point may havê"è been

  different. Unless a judge's observations are either stated upon the record or verified by

  the record J a party simply has no means of challenging the veracity of those

  observations. Therefore, as to facts which are not of record, the better procedure may

 have been to have held a hearing to allow appellant to object to any such "off record"

 judicial notice. In the absence of such a hearing, it can be argued that a party may be

 denied due process unless heis allowed to question the judge as to the accuracy of the

 observations. But cf., State v. Morrow (Aug. 8, 1987), 2d Dist. Nos. CA 9420 and CA

 9447, 1987 Ohio App. LEXIS 8195, in which it was held that the trial court had not

 abused its discretion in predicating the denial of a claim of ineffective assistance upon

 its general observation of counsel at triaL.

        f~39) Nevertheless, because the trial judge in this particular instance also
referred to the trial record in support of his factual finding, it is unnecessary to resolve

the foregoing point for purposes of this analysis. As an additional point, we would

further note that appellant has not challenged the accuracy of the references to the
record, or the accuracy of the record itself.

       ffi40) In regard to the "¡~tter" issue, appellant further asserts that he was entitled
to question the trial judge as to the statement in the appealed judgment that he, the
judge, had no independent recollection of seeing the letter. As to this point, this court

would simply note that the trial judge did not deny appellant's claim of ineffective


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 assistance on the grounds that the letter did not exist and that it had been fabricated by

 appellant. Instead, the trial court assumed in its analysis that the letter was authentic

 and addressed the merits of appellant's underlying claim for relief. To this extent,

 appellant's inability to challffnge the trial judge's lack of recall had no effect on the

 ultimate resolution of that particular claim.

        f~4n As an aside, this court would also emphasize that a copy of the disputed
 letter was submitted in support of appellant's postconviction claim that he had been

 denied effective assistance of trial counseL. In rejecting this claim, the trial court did not

 base its decision solely on the fact that appellant had communicated with his two

attorneys during the triaL. As a separate grounds for the decision, the trial court also

concluded that the assertions in the I,etter were insufficient to establish that there had

been a total "breakdown" of the attorney.client relationship between appellant and
counseL. Upon reviewing the disputed letter and the relevant case law, we can find no

error in the trial court's separate holding.

       r~í42J Reviewing the assertions of the letter itself, it was essentially a request for

the substitution of counseL. As the primary basis for this request, appellant stated that

his present counsel was not representing him in the manner he would prefer.

Specifically, appellant stated that, even though he had repeatedly asked one of his

attorneys to let him listen to certain tape recordings, the attorney had refused to bring

the tapes to his jail celL. In addition, appellant asserted in the letter that he had a verbal

argument with one of the attorneys after he had questioned whether the attorney had
been devoting enough time to his case.

       r~431 As a general proposition, an indigent criminal defendant does not have a


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  constitutional right to choose the attorney who will represent him at the expense of the

  state; rather, he is only entitled to competent legal representation. State v. Horn, 6th

  Dist. No. OT-03-016, 2005-0hio-5257, at ,-11. As a result, the request of a defendant to

 discharge his court-appointed counsel will be granted only if. he can "show a breakdown

 in the attorney-client relationship of such a magnitude as to jeopardize the defendant's

 right to effective assistance of counseL" State v. Coleman (1988), 37 Ohio St.3d 286,

 paragraph four of the syllabus. See, also, State v. Henness (1997), 79 Ohio St.3d 53,

 65.

        ~~44) In applying the foregoing basic standard, the courts of this state have

 recognized three examples of good cause which would warrant the discharge of court.

 appointed counsel: (1) a conflict of iriterest; (2) a complete breakdown of
 communication; and (3) an irreconcilable conflict which could cause an apparent unjust

 result. Horn, 2005-0hio-5257, at i111, quoting State v. Blankenship (1995), 102 Ohio

App.3d 534, 558. In light of the nature of the three examples, it has been further held

that the substitution of counsel should be allowed only if extreme circumstances exist.

State v. Glasure (1999), 132 Ohio App.3d 227, 239.

       ~~45) In regard to a possible breakdown of the attorney-client relationship due to

a lack of communication, the Supreme Court of Ohio has expressly said that the Sixth

Amendment right to counsel was not intended to guarantee that a criminal defendant

will have a "rapport" with his attorney. Henness, 79 Ohio St.3d at 65, citing Morris v.

Slappy (1983), 461 U.S. 1. Accordingly, the existence of hostility or a personal conflict

between the attorney and the defendant does not constitute a total breakdown so long

as it does not inhibit the attorney from both preparing and presenting a competent


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  defense. State v. Meridy, 12th Dist. No. CA2003-11-091, 2005-0hio.241; State v.

  Mayes, 4th Dist. No. 03CA9, 2004.0hio-2027. Moreover, the lack of communication




      ~ . .
  must be permanent in nature before a finding of a complete breakdown can be made.

  State v. Evans, 153 Ohio App.3d 226, 2003.0hio-3475, at '-32. Finally, a dispute over

 the trial tactícs or strategy of the attorney is not sufficient to establish the requisite

 breakdown. Id.

        ~~46¡ In the instant case, our review of the alleged letter indicates that appellant

 did not state in his letter why he thought the unspecified tape recordings were relevant

 to his case; thus, the reference in the letter to the attorney's failure to provide the tapes

 only showed a possible disagreement as to the manner in which the tapes could be
 used at triaL. Moreover, although the letter does state that appellant had an argument

 with one of his attorneys, it does not allege that, due to the argument, there was a total

 breakdown of communication with that attorney during. the triaL.

        ~~47¡ Therefore, as the trial court correctly noted in the appealed judgment, the

assertions in appellant's letter only established that he was not entirely satisfied with the

nature of the representation he was receiving from his court.appointed counseL. This

dissatisfaction was not sufficient to show a complete breakdown of the attorney-client

relationship which would have warranted the granting. of appellant's request for

substitution of counseL. Based upon this, this court holds that, even if the trial court did

err in referring to its own personal observations óf the relationship between appellant

and his two attorneys, its determination on the "ineffective assistance" claim could have

been predicated solely upon the trial court's holding that appellant's letter did not raise

any substantive issue on that point.



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         fci48j As was noted above, appellant has asserted under this assignment that
  there was a second basic instance in which the trial court improperly relied upon its own

  personal observations. The second instance cited by appellant pertains to the trial

  court's disposition of his "racial discrimination" claims. For example, in ruling upon the

  claim that discrimination occurred in regard to the appointment of the foreperson for the

  grand jury proceedings, the trial court specifically referred to his knowledge of the
  procedure used by the Trumbull County Court of Common Pleas in appointing the

 foreperson.

        f~49j In regard to this specific point, this court would agree that the trial judge's
 reliance upon his own personal knowledge was improper in this instance. First, we
 would note that any proceeding before the grand jury would be distinct from the petit

 trial for appellant, and the trial judge is not permitted to take judicial notice of any action

 separate from the proceeding before him. Second, we would indicate that the trial

judge's own knowledge of Trumbull County Grand Jury proceedings in general could

 not encompass all possible information on that topic. Under such circumstances, the
trial judge's knowledge could not be dispositive because there may be instances
beyond his knowledge in which discrimination did occur.

       fl\50j f\jevertheless, this court would further note that the trial court's dismissal of
the "racíal discrimination" claims was based upon either that: (1) the claims were barred

by res judicata; or (2) appellant's evidentiary materials we'e insufficient to raise a prima

facie showing of discrimination. As will be discussed under the fifth and sixth

assignments of this appeal, we conclude that this aspect of the trial court's decision

must be upheld. Therefore, the trial court's reliance on his personal knowledge was



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  harmless as to these particular claims,

              f~5n Finally, as a separate part of this assignment, appellant contends that, in
  ruling upon some of his claims for relief, the trial judge improperly relied on his own

 personal opinion. For example, in dismissing one of the claims in )l\hich it was alleged

 that appellant had been denied effective assistance of counsel, the trial judge stated in

 his final judgment that the presentation of the testimony of appellant's family members

 during the mitigation phase should not have required "exhaustive preparation" on the

 part of trial counseL. Appellant now asserts that the judge's statement constituted an
 "opinion" which should have been subject to cross.examination by
                                                                             his postconviction

 counseL.

            f~52J VVhen viewed in the context of the appealed judgment, it is apparent that

the statements in question were only intended to set forth the trial judge's legal analysis

concerning whether the actions of counsel could be deemed ineffective as a matter of

law. To this extent, the trial judge's statements merely constituted his conclusions of

law on the various points. Although such conclusions can be challenged on appeal and

must be reviewed under a de novo standard, they are not in any respect evidential

submissions to which the right to cross-examination would apply.'

           f~53J Pursuant to the foregoing analysis, this court holds that appellant has


" ..;
failed to show that he was prejudiced by the trial judge's references to his personal
knowledge. Accordingly, the fourth assignment in this appeal is also without merit.

           f~54J In the fifth assignment of error, appel,lant submits that the trial court erred
by applying the doctrine of res judicata to bar certain causes of action that he raised in

his postconviction relief petition. After reviewing this "res judicata" aspect of the trial


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 court's decision, this court concludes that portions of this analysis were flawed.

 However, in every instance in which res judicata was incorrectly applied, the trial court

 correctly found that appellant had failed to set forth substantial grounds in support of the

 respective claims for relief.

             ti,S5) It is well-established that the doctrine of res judicata is appHcable to

 postconviction relief proceedings. In State v. Perry (1967), 10 Ohio St.2d 175, the

 Supreme Court of Ohio held:

            t~56) "Under the doctrine of res judicata, a final judgment of conviction bars the

convicted defendant from raising and litigating in any proceeding, except on appeal from

that judgment, any defense or claimed lack of due process that was            raised or could

have been raised by the defendant at the trial which resulted in the judgment of

conviction or on appeal from that judgment." Id. at 180.

            f~57) Additionally, in State v. Cafe (1982), 2 Ohio St.3d 112, the Supreme Court
of Ohio specifically indicated that res judicata is a proper basis to dismiss a
postconvictíon relief petition where the issue sought to be presented could have been

raised at trial or in a direct appeal, and where "such issue could fairly have been

determined without resort to evidence dehors the record." Id. at paragraph one of the

syllabus.

           f~58J In State v. Jones (Dec. 29, 2000), 1 st Dist. No. C-990813, 2000 Ohio App.

LEX!S 6197, the court held "(t)o overcome the res judicata bar, a petitiorì~r must provide

cogent evidence outside the record. This means that the evidence supporting a claim

must be competent, relevant and material, must be more than marginally significant,

and must 'advance the claim "beyond mere hypothesis and a desire for further

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  discovery.'" *** It 'must be more than evidence which was in existence and available to

  the defendant at the time of trial and which could and should have been submitted at

 trial if the defendant wished to make use of it.'" ld. at 4.5, quoting State v. Fears (Nov.

  12, 1999), 1 st Dist. No. C-990050, 1999 Ohio App. LEXlS 5365, and State v, Coleman

 (Mar. 17, 1993), 1st Dist. No. C-900811, 1993 Ohio App. LEXIS 1485.

        i~59j Eight of appeHants claims were dismissed by the trial court based, in part,
 upon res judicata. They will be individually addressed in the order they have been
 raised in appeHants brief.

        i~60j In the first claim under the fifth        assignment of error, appeHant made the
 argument that the state of Ohio has an infirm postconviction relief system. It Îs clear,

 however, that Ohio's postconviction relief system has been in place prior to appellant's

trial and, therefore, could have theoreticaHy been raised in a direct appeaL. Thus, the

trial court properly denied the claim based upon res judicata.

        f~61j Moreover, this court has previously held that the proper forum to raise
such a challenge to the postconviction relief system in Ohio would be in a habeas

corpus action. State v. Wiles (1998), 126 Ohio App,3d 71, 83.

       fíí62j The second claim made by appeHant is that the Trumbull County
Prosecutor seeks the death penalty in a racially discriminatory manner.

       i~r63j We must agree with appellant that it would be extremely difficult, if not
impossible, to raise this issue at triaL. Instead, it is most appropriate to raise this issue

in postconviction relief proceedings, when evidence to support such a claim would be

outside the record. However, now that appellant has the opportunity to do so, he has




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  failed to present any specific evidence of discriminatory intent against him. Thus, he

  has failed to support this claim beyond mere speculation.

          t~641 Appellant does argue that his trial counsel was ineffective by not raising

  this issue at trial, but that is a separate argument which will be addressed,.Iater.

          t,651 The third claim made by appellant is that the Trumbull County Grand Jury

  that indicted him contained an underrepresentation of African-Americans.

          t~661 First, appellant made no effort to challenge the indictment prior to triaL.
 Second, as pointed out by the trial court, appellant failed to present any evidence
 whatsoever as to the racial composition of the grand jury that indicted him. Additionally,

 even if appellant could establish that the grand jury that indicted him was

 proportionately underrepresented as to African.Americans, he would have to establísh

 that "an intentional and systematic exclusion of blacks had occurred." State v. Hill (June

 22, 1990), 4th Dist. No. 1619, 1990 Ohio App. LEXIS 2509, at 5. Appellant presented

 no evidence of an intentional exclusion of AfrIcan.Americans from the grand jury that

 indicted him. Accordingly, the trial court properly rejected this claim.

        ttj671 In the fourth c1aIm made by appellant, he asserts that the Trumbull County

Court of Common Pleas selected a grand jury foreperson in a racially discríminatòry

manner.

       t~681 Evidence as to the manner by which the grand jury foreperson was
chosen could have been sought prior to appellant's actual trial. Moreover, in State y.

Hughbanks, 1 st Dist. No. C..01 0372, 2003-0hio.187, the court held that "rilf a grand-jury

foreperson is selected from within the ranks of a properly constituted grand jury, and the

foreperson's role is essentially ministerial, purposeful discrimination in the selection of a



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  grand-jury foreperson will not provide a basis for reversing a conviction." Id. at ,-35. We

  agree with that reasoning.

         f~69) The fifth claim made by appellant is that the petit jury venire was selected
  in a racially discriminatoky manner.

         (4170) It was noted by trial counsel on the record that there was an absence of
  African-Americans on the jury, and that fact was acknowledged by the trial court.

  Realistically, the simple unexplained absence of African.Americans from the jury venire

  would be insufficient support for a successful appeaL. Evidence beyond the record

 would certainly be necessary. However, in now raising this issue in his postconviction

 challenge, appellant still failed to offer or proffer any new evidence to support his
 postconvíction petition. It is, therefore, either barred from being raised in a

 postconviction relief petition by the doctrine of res judicata, or in the alternative, for

 failing to support his claim during the postconviction phase. State v. Johnson (June 14,

 1989), 9th Dist. No. 13987, 1989 Ohio App. LEXIS 2421.

       f~r71) The sixth claim presented by appellant is that he did not receive effective

assistance of counsel during the trial phase.

       f~í72) The trial court applied the doctrine of res judicata to this sixth claim

because appellant raised a similar ineffective assistance of counsel claim in his brief to

the Supreme Court of Ohio in his direct appeaL.

       f"73) Appellant argues that he supported his sixth claim with copies of nine
police reports containing new evidence of ineffective assistance of counseL. - The trial

court, however, correctly observed that these "new" exhibits only raised facts and
theories that were patently obvious from the face of the record. Hence, there is no



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 demonstration of ineffective assistance as to these nine documents. Additionally, most

 of these "reports" were nothing more than uncertified statements which were not dated

 nor did they rise to the level of being admissible documents. Therefore, this claim was

 also barred by res judicata or, in the alternative, insuffçjent support. See Jones, supra,

 2000 Ohio       App. LEXIS 6197, at 7.

             f~74) The seventh claim made by appellant is that he did not receive effective

 assistance of counsel during the mitigation phase.

             r~75) Appellant correctly points out that a claim of ineffective assistance of

counsel in the mitigation phase that is dependant upon the affidavits of individuals who

would have provided additional testimony is not subject to the bar of res judicata. State

v. Keith, 79 Ohio St.3d 514,536, 1997-0hio.367; State v. Scott (1989),63 Ohio App.3d

304, 308. Clearly, that evidence was not available unti. after the mitigation portion of

the triaL.

             r~76) However, from a review of the judgment entry, it is apparent that the trial

court rejected this claim on its merits in addition to relying on res judicata. With respect

to the affidavits of appellant's friends and family who did not get to testify during the

mitigation phase, the trial court stated that "rnJothing in these affidavits offerrs) (sic)

mitigating factors at all, let alone enough to outweigh the aggravating circumstances."

             t~77) Similarly, none of the other exhibits presented by appellant were found to
be germane to the mitigation phase. Accordingly, it is clear that the trial court did not

rely solely on res judicata but, instead, decided this claim was not well-taken on the

merits.




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         riø78) The eighth claim advanced by appellant is that the state of Ohio's use of

 lethal injection is constitutionally infirm.

        riø79) In support, he presented the affidavit of Dr. Mary J. S. Heath. However,

 the'j,substance of this affidavit does not change the clear holding of the Supreme Court"

 of Ohio that Ohio's use of lethal injection is constitutionaL. State v. Carter, 89 Ohio St.3d

 593, 608, 2000-0hio-172.

        r~80) Based upon the foregoing analysis, we hold that, even when the trial
 court's analysis concerning the application of res judicata was flawed, the error was not

 prejudicial to appellant. Thus, his fifth assignment of error is without merit.

        r~81) In the sixth assignment of error, appellant contends that the trial court
erreçl in dismissing his postconviction relief petition without a hearing.

        !~82) It is well.established that a petitioner is not automatically entitled to a

hearing. Before a hearing will be granted, a petitioner must establish that there are

substantive grounds for relief. R.C. 2953.21 (C); State v. Calhoun, 86 Ohio St.3d 279,

282-283,1999.0hio.102.

       tfi83) In the present case, appellant asserts that his causes of action were
supported by sufficient operative facts to establish substantive grounds for relief.

Appellant set forth fifteen causes of action and they will be addressed in seriatim.

       r~r84) In the first claim in this assignment raised by appellant, he contends that

the Trumbull County Prosecutor has made decisions regarding who should be charged

with the death penalty in a racially discriminatory manner.

       t~85) However, appellant failed to provide any evidence whatsoever that the
charges against him were racially motivated. Appellant claims that his Caucasian co-


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  defendant was offered a better plea bargain, but he fails to provide any support for this

  claim, beyond the bare assertion itself. Further, he fails to note that his co.defendant

  did not commit the actual killing; thus, their circumstances were arguably different.

           it;86¡ Due to a lack of skJPporting evidence for his assertion, the trial court
  properly denied this claim.

           r~¡87J In the second cause of action, appellant submits that the grand jury that
 indicted him was drawn from a venire that lacked sufficient representation of African.

 Americans.

          r~r88J Yet, appellant failed to provide the trial court with any evidence of the
 racial composition of the actual grand jury that indicted him, or the venire from which the

 grand jury was selected, In short, while appellant filed numerous exhibits with his

 postconviction relief petition, none of them concerned, either directly or indirectly, the

 grand jury composition in the present case.

          rfi89l Moreover, as the trial court noted, the Supreme Court of Ohio has held
that "not every grand jury has to represent a 'fair cross section,' so long as the selection

process Îs nondiscriminatory." State v. Williams (1997), 79 Ohio St.3d 1, 17. More

recently, the Supreme Court of Ohio ruled that the use of voter registration roles as a

source for grand jurors does not intentionally exclude any specific racial group, and is

an acceptable method of selecting jury venires. State v. Nields (2001), 93 Ohio St.3d 6,

19.

         rfi90¡ In the third cause of action, appellant contends that it is the good faith
belief of his counsel that the Trumbull County Court of Common Pleas has employed a




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   system to choose grand jury forepersons that can lead to discrimination in the selection

  process,

              flu91     1 While the state does not dispute the fact that the foreperson in this case

  was a Causacian woman, appellant provided nQ evidencei.that this woman was

  handpicked by a Trumbull County judge, that she was chosen because she was

  Causasian, or that she was responsible for indicting appellant because of his race.

 Moreover, with all due respect to appellant's trial counsel, persona! belief is a far cry

 from personal knowledg,e. No operative facts were set forth which laid a foundation to

 support or put this belief beyond mere speculation. Furthermore,
                                                                              there is no indication

 that the foreperson was chosen from outside the system that was used to comprise the

 balance of the ,grand jury. Therefore, appellant cannot prevail on this claim.

 Hughbanks, supra, at
                                       '135.

            f~92J Thus, the trial court properly found that appellant's contention "is far too

 tangential to be substantive."

            f~r931 In the fourth cause of action, appellant contends that the prosecutors at
trial failed to provide him with exculpatory evidence. Specifically, appellant alleges that

certain undisclosed law enforcement agents suppressed a police report that the

decedent had made plans to fake his own death. Somehow, appellant believes that

such a report would have been favorable to his case.

           f~941 The,trial court found that, if this report actually existed, it would not have
been exculpatory because appellant admitted to shooting a man in Robert Fingerhut's

home whom he, himself, identified as Fingerhut. The overwhelming evidence was that

the victim was Robert Fingerhut and that it was appellant who shot him.



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          (~95j The trial court also found that appellant supplied no credible evidence to
  support his claim that a police report stating that Fingerhut planned to fake his own

  death ever existed. On this point, appellant supplied the trial court with an unsigned,

  handwritteo letter wherein the unknown author stated that "RSF" had an "obsession
  about faking his own death." There was also an affidavit from his counsel of record in

  this case stating that trial counsel for co.defendant, Roberts, also told him about this

  alleged police report. However, there was no affidavit from Roberts' trial counseL.

 Again, we note that appellant admitted to shooting Fingerhut, albeit in self.defense.
 Thus, the exculpatory value of any such report is non.existent. There may be a dispute

 of fact about its existence, but it is not a material or relevant dispute of fact as is


 required.

        (t,96j The trial court did not err by dismissing this cause of action.

        f~97j In the fifth cause of action, appellant maintains that the trial court failed to
 hold a hearing concerning his request to discharge his trial counseL. His allegation is

 that he sent a letter to the trial court judge prior to trial in which he complained that one

of his trial attorneys was not paying enough attention to him.

        (~98j Assuming -that he sent such a letter, there is no allegation that appellant

could not communicate with this attorney or that communication had irretrievably broken

down. He made no claim that he was somehow denied his constitutional right to

counsel in this case. In short, there was no claim of prejudice. It is almost axiomatic

that every defendant fee'is his or her attorney is not paying enough personal attention to

the case. That is not per se indicative that the attorney is professionally deficient.

Additionally, it is well.established that a petitioner's own self-serving statement does not



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  compel a hearing. State v. Kapper (1983),5 Ohio St.3d 36, 37.38. Thus, without more,

  the trial court properly denied this cause of action.

          f~99) In the sixth cause of action, appellant asserts that trial counsel failed to

  retain a competent mitigation speciali§t and, as a result, the mitigation investigation was

  incomplete.

          f~100) From the record, it is clear that Dr. Sandra McPherson was hired as
 appellant's expert witness. It is also clear that Dr. McPherson has filled a similar role in

 at least five prior capital murder cases. Thus, appellant's claim that Dr. McPherson was

 less than competent was an unsupported allegation. As an expert psychological

 witness, Dr. McPherson testified very capably. There is nothing to indicate she was

 intended to be the mitigation specialist. Furthermore, appellant's evidentiary materials


 were not sufficient to demonstrate that an actual mitigation expert would have made a

 difference under the facts of this case. Accordingly, appellant failed to present

 substantive grounds for relief as to this claim.

         f~101) In the seventh cause of action, appellant argues that the petit jury that
convicted him was drawn from a venire that was underrepresented by African-

Americans.

        f~102) For the reasons set forth in this court's analysis of appellant's fifth
assignment of error, this claim was either barred by the doctrine of res judicata or, in the

alternative, was not supported by sufficient evidentiary materials during the
postconviction phase of appellant's case.2



2, In disposing of appellant's contentions concerning the underrepresentation of African-Americans on
the petit jury, this court considered appellant's two supplemental submissions which were filed after oral
arguments in this appeaL.

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              ff¡103; In the eighth cause of action, appellant contends that he was denied the

  effective assistance of trial counsel during
                                                  the pretrial stages of the proceedings.

              f~104; In State v. Pierce (1998), 127 Ohio App.3d 578, 586, this court explained

  that in asserting a claim of ineffective assistance of counsel, a petì£:ioner must submit


  material containing operative facts that demonstrate both prongs of the two-part test set

 forth in Strickland v. lIVashington (1984), 446 U.S. 668, 687. The first part is that

 counsel's performance was deficient, and the second part is that the deficient

 performance prejudiced the defense. In order to demonstrate prejudice, a petitioner

 needs to show a reasonable probability that, if not for counsel's errors, the result of the

 trial would have been different. State v. Bradley (1989), 42 Ohio St. 3d 136, 143.

            f~rl05; In the case at bar, the trial court determined that none of the exhibits
 attached to appellant's petition even remotely suggested that his trial counsel was
 ineffective.

           f~106; First, appellant argues that his counsel failed to develop any significant
information concerning his co.defendant's role in the homicide. Yet, it is clear that the

conspiracy and relationship between appellant and Roberts was presented to the jury.

The jury was made aware that Roberts would be able to collect the victim's insurance

proceeds.

          r~107; The jury also heard appellant admit that he did, indeed, shoot Fingerhut,

albeit in self defense. Thus, at trial, appellant essentially conceded that Roberts did not

playa role in the actual shooting. Mò'reover, appellant presented no additional evidence

in his postconviction petition that Roberts played a greater role than was set out at triaL.




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         i~108Ì Second, appellant asserts that the victim, Fingerhut, was involved in illegal

 activities that were not brought to the attention of the jury. However, appellant failed to

 inform the court as to what those activities were, or, more importantly, how they had any

 effect on theg.hooting.

        i~109Ì Next, appellant claims that his trial counsel did not delve into the

 "dysfunctional" relationship between Roberts and Fingerhut. Contrary to appellant's

 claim, the jury was aware that the couple had been divorced yet still lived together; and,

 during this time, Roberts was involved in a relationship with appellant. Beyond the
 classic triangle, appellant has failed to elucidate any other oddities of their relationship.

 It is worth noting once again, his defense was self-defense. Without further facts, the

 relevance of these allegations to appellant's self.defense theory is nonexistent.

        i~110Ì Appellant also contends that his trial counsel at mitigation failed to fully

develop the extent of his "significant mental impairment." It is clear to this court that the

claim of appellant's mental impairment was questionable at best. He was tested shortly

after his arrest in this case and his scores were significantly higher than when he had

been tested in high schooL. Thus, this lack of emphasis was, arguably, a matter of trial

strategy that trial counsel employed.

       i~111Ì Next, appellant maintains that his trial counsel did not challenge the grand

jury or petit jury venires, nor the grand jury foreperson, for lacking in adequate African-

American representation.

       i~112Ì As previously held, appellant has failed to demonstrate any improprieties

in the selection process for the grand jury, the petit jury, or the grand jury foreperson.

We note that this argument addresses only the failure to raise this issue at triaL. The



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     only evidence that appellant provided the trial court to support this claim was a list of

     names and addresses that was used for the petit jury venire, and a report provided by

     Diane Wiley that addressed the Roderick Davie murder case from 1992.3 Those two

     items were irrelevant to his assertion of ineffE?tive assistance of counseL.

            f~113J Clearly, the names and addresses of the jurors               comprised the
     is meaningless information since it does not indicate how they were chosen, nor does it

     identify the race of the individuals. Even if we were to assume all of the names were

     non African.Americans, that evidence does not address the "selection" process.

     Furthermore, the Wiley report was over ten years old; thus, its present accuracy was

     suspect. A proper challenge on this subject at trial would have required counsel to

 present evidence that this grand jury, this petit jury, and/or this jury foreperson were

 improperly selected. There was no such evidence offered in postconviction, so

 presumably there was no such evidence available to trial counseL. Thus, appellant

 failed to support his claim on the merits.

           r~l14J We further note that even if appellant had established ineffective
assistance of counsel in this regard, he still had to show prejudice. He failed to show

that any of the selection processes were flawed or that any of the results were the result

of    bigotry.

          f~115J Appellant next complains that his trial counsel did not attempt to suppress

appellant's statement to the police on the grounds that his school records showed an

I.Q. of 70 and 72 when he was 13 and 17 years oid, respectively. However, as the trial


3, Diane Wiley is the president of the National Jury Project Midwest and was retained by the Ohio Public
Defender Office to evaluate whether the special jury venire drawn in State v. Davie, Case No. 91.CR-288
in Trumbull County, Ohio was representative of the population of African.Americans in Trumbull County at
that time.

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 couri stated in its judgment, those facts would not have affected its opinion that

 appellant gave a voluntary and self-serving statement to the investigators.

         f~116) A failure to move to suppress is not per se ineffective assistance of
 counsel unless there is prejudice. State v. Loza (1994), 71 Ohio St.3d 61, 83 The

 facts indicate that it would have been extremely unlikely that such a motion would have

 been granted. Even without this statement admitting the shooting, the physical

 evidence coupled with the numerous letters planning this murder were abundantly

 sufficient to convict him.

        ffl117) Next, appellant contends that his trial attorneys conducted an inadequate

 investigation into the power and control that Roberts.. had over him, including her
 manipulation of him that was possible due to her superior intellect. There is no

evidence in or out of the record to suggest that appellant was a reluctant or unwilling

participant, or that Roberts had a superior intellect. As previously indicated, the defense

of self.defense had little relevance to appellant's relationship with Roberts. Thus, the

trial court properly denied this argument.

        f~í118) Appellant then claims that no family members besides his mother were

interviewed in preparation for the mitigation phase of the 'proceedings. Accordingly, he

argues that Dr. McPherson's testimony was based upon an inadequate and incomplete

social history.

       f~119) However, appellant fails to cite any new relevant or non-cumulative
                                                           "
information which the jury did not already hear, and which could be considered as

mitigating evidence. Thus, appellant failed to meet the burden placed upon him in

postconviction relief proceedings.


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              t~120J In the ninth cause of action, appellant submits that his trial counsels'
  actions during the culpability stage of the proceedings denied him his right to effective

  assistance of counseL. Once again appellant raises the argument that his trial counsel

  did not adequately exploit the unique relationship between himself and Roberts,

 especially in regard to Roberts' role in the homicide. By failing to demonstrate the
 existence of specific facts which he apparently claims were available to counsel,
 appellant has failed to properly support this claim.

             t~r12lJ In his original petition under the tenth cause of action, appellant asserted

 that his trial counsels' actions   during the culpability stage of the proceedings denied him

 his right to effective assistance of counseL. However, appellant's tenth cause of action

 in his amended petition raised the issue of ineffective assistance of counsel during the

 mitigation phase of the proceedings rather than the culpability phase. Thus, this court

will address appellant's argument as amended.

            tìr122J This claim was addressed, for the most part, in this court's analysis of

appellant's fifth assignment of error. The only new argument made is that the last

minute substitution of Attorney Thomas Wright for Attorney James Lewis compromised

his defense during mitigation. Specifically, appellant asserts that Attorney Wright was

not certified by the Supreme Court of Ohio to serve in a capital case, and he was new to

the case.

           i~123J However, none of the exhibits presented by appellant in support of this

claim demonstrate that Attorney Wright was ineffective. Additionally, appellant was

offered a continuance by the trial court to delay proceedings until Attorney Lewis could




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   recuperate, but the court's offer was rejected by appellant who stated that he wanted to

  proceed with Attorney Wright.

          r~r124) Thus, this claim was properly denied by the trial court.

          r~125J Appellant's next argument under this assignment pertains to his claim

  regarding the performance of Dr. Sandra McPherson during the mitigation phase.

  Specifically, he contends that her preparation and actual testimony at trial was deficient

  in three respects: (1) she did not calculate appellant's score on an L.O. test correctly;

  (2) she did not perform the proper psychological testing on him; and (3) her testimony

 did not set forth any meaningful insight into his psychological development.

          r~126) As to the first assertion, this court would note that, pursuant to appellant's

 own evidentiary materials, the alleged errors in the calculation would have only resulted

 in a four-point change in the final result, i.e., from 84 to 80. Under Ohio law, there is a

 rebuttable presumption that a criminal defendant is not mentally retarded if the result of

 his IQ test is greater than 70. State v. Lott, 97 Ohio St.3d 303, 2002-0hio-6625. Thus,

 the difference in appellant's L.Q. would not have changed his basic status under the

 intelligence scale.4        In light of the overwhelming nature of the aggravating

circumstances in this case, this four.point error in calculation would not have altered the

jury's weighing exercise in determining whether to recommend the death penalty.

        r~127) In relation to the second assertion, we would indicate that the
determination of which psychological test to perform was clearly within the discretion of

Dr. McPherson. Although appellant's evidentiary materials were sufficient to show that


4, In addition to recalculating the final score based upon the findings of Dr. McPherson, the new
psychologist also administered a new "I'Q." test on appellant. Although the final score of the new test
was different than the proper score under Dr. McPherson's test, it still did not fall within the range of
scores which must be found in order for a person to be considered mentally retarded.

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   other tests could have been performed, the materials did not establish that Dr.

   McPherson had acted below the standard of care for psychologists in choosing which

  test to perform. In other words, there is no indication in the record that Dr. McPherson's

  actions did not fall within the acceptable range for her profession.

              f~128j Finally, as to the quality of Dr. McPherson's testimony, our review of the

  trial transcript shows that her testimony during the mitigation phase was clearly intended

  to emphasize certain facts about appellant's background, i.e., that he had attention

 deficit disorder and that he had been infatuated with Roberts. In the evidentiary

 materials attached to his postconviction petition, appellant merely raised the possibility

 that other aspects of his childhood should have been given greater emphasis by Dr.

 McPherson. There is nothing to suggest that Dr. McPherson's testimony was below the

 professional level of proper evaluation. Moreover, this disagreement in strategy is not

 sufficient to establish that appellant was denied access to proper expert
                                                                                     assistance
during his triaL.

            fl;129j Pursuant to the foregoing analysis, this court concludes that the trial court

did not err in rejecting appellant's claims regarding the competency of Dr. McPherson.

Thus, his eleventh argument lacks merit.

            fl;130j Under his twelfth argument, appellant submits that the trial court should

have vacated its original sentencing judgment because his evidentiary materials

showed that the court's prior weighing exercise had been based on 'insufficient

evidence. In support of this argument, appellant again cites Dr. McPherson's failure to

refer to his miserable childhood during her testimony at triaL.




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         f4T131) Simply stated, appellant's twelfth argument merely restates the basic

 points set forth under his eleventh argument. That is, appellant asserts that the trial

 court did not base its weighing exercise upon the proper facts because Dr. McPherson

 failed to emphasize those facts in her testimony. As to this point, this court would again

 indicate that the choice of which aspects of appellant's childhood to emphasize before

 the jury was a matter of strategy for trial counsel and professional judgment for Dr.

 McPherson, After reviewing the transcript of the mitigation phase, this court concludes

 that the trial court did not err in finding that Dr. McPherson's testimony set forth a viable

 mitigation argument for appellant.

        i~132) Under his thirteenth argument, appellant contends that the trial court erred

when it rejected his claim that the state's use of a lethal injection in the imposition of the

death penalty constitutes cruel and unusual punishment. In regard to this point, we
would first indicate that this claim does not raise an issue pertaining to the propriety of

appellant's criminal triaL. To this extent, a postconviction proceeding is not the proper

legal context in which to litigate this issue; instead, this type of issue should be raised in

a declaratory judgment or habeas corpus action.

       f~133) Moreover, as to the substance of this argument, our review of the relêvant

case law shows that the basic assertions raised in the evidentiary materials relating to

this point have previously been rejected as insufficient to establish that Ohio's use of the

lethal.injection method is unconstitutionaL. See Cooper v. Rimmer (6th Cir., 2004),,358

F.3d 655.


      f~134) Under his fourteenth argument of the sixth assignment, appellant

maintains that Ohio's postconviction relief procedure should be declared



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  unconstitutional because the statutes create so many procedural hurdles for a criminal

  defendant to overcome that it is simply too difficult to obtain relief. As to this point, this

 court would first note that we have expressly held that the constitutionality of the

 postconviction proc!3dure can only be properly challenged in a habeas corpus

 proceeding. State v. Wiles (1998), 126 Ohio App.3d 71. Furthermore, the appellate

 courts of this state have generally upheld the constitutionality of R.e. 2953.21 et seq.

 See, e.g., State v. Hutton, 8th Dist. No. 76348, 2004-0hio-3731. In again raising this

 issue in the present case, appellant has failed to assert any new argument which would

 warrant the reconsideration of this matter.

        fl\135) In the fifteenth cause of action, appellant contends that even if this court
 finds no merit to his first fourteen causes of action, the "cumulative effect" of those

causes of action violated his constitutional rights. Under the doctrine of cumulative

error, a judgment can be reversed when the cumulative effect of numerous errors

deprives a defendant of his constitutional rights, even if the individual errors are so

small that not one in particular rises to the level of prejudicial error. State v. DeMarco

(1987),31 Ohio St.3d 191, 196.197.

       fl\136) However, it is clear appellant failed to demonstrate that even one cause of

action amounted to harmless error. Although there were some instances in which the

trial court's res Judicata analysis was incorrect, there was no need for any harmless

error analysis in regard to the trial court's findings as to the actual substance of the




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    claims for postconviction relief. To this extent, the cumulative effect amounts to nothing.

                ilj137) Based upon the foregoing analysis, appellant's sixth assignment of error is

   without merit.

               i'v138) The judgmentof the trial court is hereby affirmed.



   WILLIAM M. O'NEILL, J., concurs with Concurring Opinion,

   COLLEEN MARY O'TOOLE, J., concurs.



  VVILLIAM ¡vI O'NEILL, J., concurring.

              i1r139) i concur with the well-reasoned majority opinion, but write separately to

  emphasize the significance of this court's application of the doctrine of res judicata in a

  capital murder case. Nowhere is the concept of "one bite at the apple" more important

 than when the state is seeking to impose the death penalty upon one accused of
 murdering another. When a client is facing the death penalty, both the client and his

 counsel are on notice that decisions on trial strategies wil have profound

 consequences.

             i~140) In a petition for postconviction relief, Jackson's counsel has raised the
very serious question of racial imbalance in both jury selection and prosecution of

capital murder cases in Trumbull County. This is a constitutional question of significant

import. As stated by the Supreme Court of Ohio, "'the selection of a petit jury from a

representative cross section of the community is an essential component of the Sixth

Amendment right to a jury triaL.
                                      ",5 The court went on further to hold that:



5, State v. Fulton (1991),57 Ohio St.d 120, 123, quoting Taylorv. Louisiana (1975), 419 U.S. 522, 528.


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            (~141J "A defendant may also reasonably bring a federal equal protection

   challenge to the selection and composition of the petit jury by adducing statistical
   evidence which shows a significant discrepancy between the percentage of a certain

   class of people in the communityand the percentage of that class on the jury venires,

   which evidence tends to show discriminatory purpose, an essential element of such

   cases."B

           ('142j In addition to the question of racial imbalance, appellant challenges the
  trial court's refusal to appoint an expert to assist him in researching and clarifying the

  extent of the problem.

          (~143j In support of this position, appellant's counsel directs this court's attention

  to the recently decided case of United States v. Rodriguez-Lara, which is clearly on

  point. As stated by the court:


          (fi144j'The selection of a grand or petit jury          in violation of either the equal
 protection or the fair cross.section guarantee is structural error that entitles a defendant

 to relief without a demonstration of prejudice."?

         r~145j In reversing the conviction, the federal appellate court went on to explain

 the inherent injustice in the denial of expert assistance in a statistical analysis case.

         r~146j "Rodriguez's failure to complete his prima facie case is not fatal to his
appeal of the denial of his motion to have an expert appointed. Indeed, conditioning the

entitlement to an expert on a defendant's establishing a prima facie case would make

little sense: such a rule would provide assistance to a defendant only' upon a

demonstration that he does not require it. Instead, we must determine whether (1)



6, Id. at 123-124,
7. (Citations omitted,) Unìted States v, Rodríguez.Lara (CA9, 2005),421 F,3d 932, 940.

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      'reasonably competent counsel would have required the assistance of the requested

      expert for a paying client,' and (2) the defendant 'was prejudiced by the lack of expert

      assistance,,"8

             t~147J This court has recently addressed this very question in a postconviction

     petition dealing with the mental retardation of an individual who was found guilty in a

     capital murder case. As we stated in State v. Lorraine:

            f~148J "(T)he logic utilized by the trial court, that Lorraine failed to present any

     evidence demonstrating that an expert is necessary to achieve a different result, falls in

     on itself. An indigent, postconviction petitioner cannot be required to show that an
     expert is .needed to prove he is mentally retarded if an expert would indeed be required

     to make that showing.

            t~149J "We conclude the trial court erred and abused its discretion in denying
     Lorraine's request for expert assistance for the purposes of demonstrating he is

 mentally retarded pursuant to Atkíns(9J.,,10

           f~150J Unlike the matter at hand, the Lorraine decision was not hampered by the

 doctrine of res judicata, as the Supreme Court of Ohio had ruled in State v. Loft that the

 rights being protected in mental retardation/capital punishment cases were to be applied

retrospectively.11 Thus, even though Lorraine was convicted in 1986, he could proceed

with his petition for postconviction relief because of the retrospective application ordered

by the Supreme Court of Ohio in State v. Lott.




8, (Emphasis added.) Id, at 946, quoting United States v, Nelson (CA9, 1998), 137 F,3d 1094,1101, rn.
2,
9. Atkins v. Virginia (2002),536 U,S, 304.
10, State v. Lorraine, 11th Dist. No, 2003-T.0159, 2005.0hio-2529, at ~30-31,
11. State v. Lott, 97 Ohio St,3d 303, 2002.0hio.6625, at ~17.

                                                                                         Jackson Apx. Vol. 17
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             f'fi155) In conclusion, I feel the trial court's ruling was correct. Is there racial
 imbalance in the Trumbull County jury selection process? I do not know. Could that

 have been raised at the trial? Yes. Was it? No. Therefore, the trial court properly held

that, as far as the composition of the jury is concerned, the doctrine of res judicata


applies to bar this claihi.




i 2, Lester v. Leuck (1943), 142 Ohio St. 91, paragraph one of
                                                                      the syllabus.

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        STATE OF OHIO )                                 IN THE COURT OF APPEALS
                           )SS.
        COUNTY OF TRUMBULL )                            ELEVENTH DISTRICT


        STATE OF OHIO,

                         Plaintiff-Appellee',
                                                        JUDGMENT ENTRY
                . vs -
                                                        CASE NO. 2004-T-0089
        NATHANIEL JACKSON,

                         Defendant-Appellant.



             For the reasons stated in the opinion of this court, the assignments of error

        are without merit. It is the judgment and order of this court that the judgment of

        the trial court is affirmed.




                                                                                   et.,



       COLLEEN MARY O'TOOLE, J., concurs,

       WILLIAM M. O'NEILL, J., concurs with Concurring Opinion.




                                                               FILE
                                                            COURT OF APPEALS

                                                               MAR 0 ø 2006
                                                            TRUMBULL COUNTY, OH
                                                          KAREN INFANTE ALLEN, CLERK

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                                     IN THE COURT OF APPEALS
                                   ELEVENTH APPELLATE DISTRICT
                                     TRUMBULL COtJNTY, OHIO


STATE OF OHIO,                               )
                                             )
           Appellee. Appellee,               )
                                             )
.vs.                                         )     Case No. 2004-TR-89
                                             )
NATHANIEL JACKSON,

           Defendant. Appellant.
                                             )
                                             )
                                             )
                                                              rZ7        l




       .
           NATHANIEL JACKSON'S lVIOTION FOR RECONSIDERATION




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                                  IN THE COURT OF APPEALS
                                ELEVENTH APPELLATE DISTRICT
                                  TRilfBULL COUNTY, OHIO


STATE OF OHIO,                            )
                                          )
         Appellee. Appellee,              )
                                          )
-vs.                                      )      Case No. 2004.TR.89
                                          )
NATHANIEL JACKSON,                        )
                                          )
         Defendant-Appellant.             )




        NATHANIEL JACKSON'S lVIOTION FOR RECONSIDERATION


               Nathan Jackson, pursuant to App. R. 26(A) moves this Court to reconsider its

March 6, 2006 Opinion and Judgment. He has attached hereto a Memorandum of Law which he

incorporates in this Motion.




                                                COUNSEL FOR NATHAi'\IEL JACKSON

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                                                         MEMORANDUM OF LA \V

  I. Introduction

                           On March 6, 2006, this Court rendered its opllion and judgment affirming the

  trial court's. dismissal, without permitting any factual development, of Nathaniel Jackson's

  amended post.conviction petition. That court had sentenced Nathaniel Jackson to death.

                           This Court should, pursuant to App. R. 26(A), reconsider that judgment for the

  reasons identified herein. An appellate court should grant a motion for reconsideration when it

  cans to attention of the court an obvious error in its prior decision or raises an issue that was not

 considered at all or was not fully consider in the earlier decision. Woerner v. i\;fentor Exernpted


  Vilage School District Board of Education, 84 Ohio App. 3d 844, 846 (1993); lvfatthews v.

 ivfatthews,5 Ohio App. 3d 140, 143 (1982). A motion for reconsideration should not be granted

 where the moving party, in its motion, merely re-raises the same arguments contained in its initial

 briefing. State v. Owens, 112 Ohio App.3d 334,336 (1996)1.

                          In the present case, this Court incorrectly stated that Nathaniel Jackson had failed

 to submit any evidence de hal'S the record in support of the claim that there was an
underrepresentation of Amcan.Americans in the petit jury venire. With respect to his

 ineffectiveness claim in the trial phase, .this Court perfunctorily dismissed the supporting evidence,

thereby not fully considering the signitìcance of
                                                                                that evidence.




i As a result of the restrctions that the cours have placed on the scope of motions filed pursuant to App. R. 26(A),
Nathaniel Jackson does not request ths Cour to reconsider its entire decision. His decision to not cite to additional
errors in this Court's opinion, should not be constred as an implicit waiver of any other error. Instead it should be
constred as reflecting the limitations imposed in the cases interpreting App. R. 26(A) and the decision of undersigned
                                                                                                        Jackson  to Apx.
                                                                                                                    the Vol. 17
counel to raise the other errors in Nathaniel Jackson's appeal to the Ohio Supreme Court, and if
                                                                                                   unsuccessful,
federal cours pursuant to 28 U.S.c. 2241 et seq.
                                                                                                                     Page 167


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  II. This Court erred when it determined that the challenge to the venire was barred by res
       judicata

                         In the Seventh Cause of Action Nathaniel Jackson challenged the manner in which

  the trial court and jury commissioners chose the individuals who were included in the venire from

  which his petit jury was chosen. Nathaniel Jackson submitted six exhibits to buttress his claim that

  the underrepresentation of Afrcan.Americans in his venire was not due to chance. (T.d. 30Î,

 Exhibits 1,36.39,55). This included the affidavit of
                                                                     Diane Wiley, President ofthe National Jury
 Project, Midwest. She documented that minorities had been systemically culled from the petit

 jury venire in another capital case before the same trial judge. (Id. at 39).

                         This Court made the following fìndings concerning Nathaniel Jackson's challenge

 to the venire:

            The fifh claim made by appellant is that the petit jury venire was selected in a
            racially discriminatory manner.... Realistically, the simple unexplained absence
            of Afrcan..L\ericans from the jury venire would be insufficient for a successful
            appeaL. Evidence beyond the record would certainly be necessary. However, in
            raising this in his post-conviction challenge, appellant stil failed to offer or
           proffer any new evidence to support his post-conviction petition. (emphasis
            added)

 (Slip Opinion, p. 22)

                       This Court was correct in its findings that the issue could not have been raised on

 direct appeaL. 2 This Court's other findings as to this claim, however, were in error. First, the


petit venire discrimination issue was raised in the Seventh Cause of Action, not the Fifth Cause

of Action. More importantly, Nathaniel Jackson did support the Cause of Action with evidence

concerning two other capital cases before the same trial judge in which there was an

underrepresentation of African Americans. That documentation was sufficient to overcome res

judicata. It was also sufficient to establish a prima facie case that shifted the burden of proof to


                                                                                                           Jackson Apx. Vol. 17
2 Nathaniel Jackson did not raise this issue on direct appeal, precisely for the reason identified by this Cour.     Page 168



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  the prosecution. A defendant establishes a prima facie case of discrimination by demonstrating

  that there has been a signiíìcant underrepresentation of the group in question over a period of


  time. Hernandez v. Texas, 347 U.S. 475,480 (1954). Castaneda v. Partida, 430 U.S. 482,494.


  95 (1977); Duren v. Mississippi, 439 U.S. 357, 366 (1979). J

                          This Court made a similar error when it addressed the failure of trial counsel to

  raise a challenge to the petit jury venire. This Court began its analysis by citing to the fact that

  the "only evidence that appellant provided the trial court to support his claim was a list of
                                                                                                               names
  and addresses that were used for the petit jury venire, and a report provided by Diane Wiley that

  addressed the Roderick Davie murder case from 1992." (Slip Op. p. 31, footnote omittedJ. This

 Court proceeded to declare that Nathaniel Jackson never submitted information to "identify the

 race of the jurors." (Id.). However, the race of all of the prospective jurors who appeared for

 jury duty was contained on the face of the record. (Tr. 1846.48J. One.hundred and forty.one

 individuals appeared and only was African American (Id. J. This Court faulted the Diane Wiley's

 affidavit because it "was over ten years old." (Slip Op. p. 31J. The Wiley report was signed on

 January 31, 2000. (Td. 307, Exhibit 39J. Thus the report was not ten, but two years old at the

 time of Nathaniel Jackson's triaL. The fact that the report involved an older case supports the

conclusion that discrimination which existed in the present case has been a systemic problem in

Trumbull County. The Supreme Court has warned against examining only a single venire when

addressing jury discrimination. Patton v. lviississippi, 332 U.S. 463, 468 (1947) ("The above

statement of the Mississippi Supreme Court illustrated the unwisdom of attempting to disprove


3 This Court observed "in disposing of appellant's contentions concerning the underrepresentation of African-
Americans on the petit jur, this court considered appellant's two supplemental submissions wmch were filed after
oral arguments in tms appeaL. (Slip Op. p. 28, n.2) There were in fact three such submissions. In those submissions

Supreme Cour cases cited therein or any other United States Supreme Cour addressing race in the Jackson   Apx. Vol. 17
Nathaniel Jackson referenced sixteen United States Supreme Cour cases. The majority opinion cited to none of

                                                                                                selectionthe
                                                                                                          of
venies.                                                                                                      Page 169


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 racial discrimination in the selection of jurors by percentage calculations applied to the


 composition of a single venire").

 III. This Court erred when it determined that the trial phase ineffectiveness claim was
           barred by res judicata

                      In the Ninth Cause of Action Nathaniel Jackson asserted that his trial counsel, in

 the innocence-guilt phase unreasonably tàiled to present evidence minimizing his role in the

 murder vis.a- visi Donna Roberts and he was prejudiced by this failure. (T.d. 306, 307). Donna

 Roberts was much more intelligent than Nathaniel Jackson (T.d. 30i, Exhibits 44, 68, 56, 57).

 Ms. Roberts' had been involved in prior relationships in which she curred favor with African-

 American males by supplying them with clothes, money, fast cars and sex (ld., Exhibits 65, 66,

 67). She supplied Nathaniel Jackson with money, sex, clothes, and a car (Id. Exhibits 49.53, 58,

 69).

                      This Court made the following observations when it determined that this
constitutional violation was barred by res judicata:


          The Sixth Claim presented by appellant is that he
                                                                              did not receive effective
          assistance of counsel in the trial phase. Appellant argues that he supported his
          sixth claim with copies of nine police reports concerning new evidence of
          ineffective assistance of counseL. The trial court, however, correctly observed
          that these "new" exhibits only raised facts and theories that were patently
          obvious from the face of the record. Hence there is no demonstration of
          ineffective assistance as to those nine             documents. (emphasis added)


                     These findings were in error. First, Nathaniel Jackson raised his innocence.guilt

phase claim in the Ninth Cause of Action, not the Sixth Cause of Action. Second, Nathaniel

Jackson did support this Cause of Action with nine police reports.4 That is a verifiable fact. It is

not an issue subject to debate or argument. Third, the facts contained in those reports are not



                                                                                                          Jackson Apx. Vol. 17
4 He also submitted other exhibits, including affidavits, which this Cour did not reference in its Opinion.         Page 170


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patently obvious on the face ofthe record in the innocence.guilt stage. 5 Those facts do not exist

any place in that phase of the proceedings. Donna Jackson's history of manipulating African-

American males and her superior intelligence would certainly have provided the jury with an

explanation as to the reason that Nathaniel Jackson was involved in a murder from which he had

nothing to gain.

iv. Conclusion: This Court should grant Nathaniel Jackson's Motion

                       The errors that Nathaniel Jackson has pointed out herein are of the type that Ohio

courts have recognized can be corrected by           the granting of a Motion for Reconsideration. See


Section I, supra. There are especially compelling reasons that the Motion should be granted in

this case.

                       The United States Supreme has always recognized a need for a heightened degree

of reliability in capital cases. Ford v. Wainwright, 477 U.S. 399, 410 (1986); Gardner v.

Florida, 430 U.S. 349, 362 (1977); Johnson v. lvfzssissippi, 486 U.S. 578, 585-86 (1988). The

need for reliability extends to appellate procedures. Sochor v. Florida, 504 U.S. 527, 540.41

(1992). In addition, this Court's two incorrect findings involve causes of action addressing race,

1) the failure of trial counsel to address the Caucasian co.defendant s superior intellectual and

monetary resources and 2) the seating of an all white jury. In this last term the United States

Supreme Court struck down a death sentence that was the product of a discriminatory process.

ivfzller-El v. Dretke, 125 S.Ct. 2317, 2340 (2005).

                       The "duty to administer justice occasionally requires busy judges to engage in a

detailed review of the paricular facts of a case...The current popularity of capital punishment


5 This Court subsequently attempted to call into the question the credibility of the information contained in the
police reports by referencing them as "nothng more than uncertified statements." (Slip Op. p. 23). ThisJackson  Apx. Vol. 17
                                                                                                        Cour never
attempted to explain the manner in which the informtion in question could both be "patently obvious from the face Page 171
of the record" and at the same tie be "nothig more than uncertfied statements."




                                                       6
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makes this 'generalized principle' especially important." Kyles v. vVhitely, 514 U.S. 419, 455

(1995)( citations omitted). In the present case the concurrng opinion's response to its own

rhetorical question "Is there racial imbalance in the Trumbull County jury selection process? I do

not know" is inconsistent with the Supreme Court pronouncement in Kyles and that Court's

numerous holdings that capital sentences will only be upheld if they are the product of

procedures which promote reliability and eliminate racial discrimination.

               vVHEREFORE Nathaniel Jackson requests this Court to grant this Motion for

Reconsideration and remand this case for factual development so this Court, will have a

sufficient record from which to conduct a detailed analysis of Nathaniel Jackson constitutional

claims.

                                                    Respecttùlly submitted,




                                                       fice of the Ohio Puolic Defender
                                                      East Long Street. 11 th Floor
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                                                    (614) 466.5394
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                                                    COUNSEL FOR NATHi\1"\IEL JACKSON




                                                                                       Jackson Apx. Vol. 17
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                              CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing Nathaniel Jackson's Motion

for Reconsideration was forwarded by first.c1ass, postage prepaid US. Mail to Luwayne

Anos, Assistant Prosecuting Attorney, 160 High Street, N.W.,

Building, Warren, Ohio 44481 on this the 15th day ofM




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                                   IN THE ELEVENTH DISTRICT COURT OF APPEALS
                                             TRUMBULL COUNTY, OHIO

    STATE OF OHIO,
                                                                          )
                                                                          )
               Plaintiff- Appellee
                                                                          )            CASE No. 2004-T-0089
    .vs-
                                                                          )
                                                                          )
                                                                          )            STATE'S ANS\VER TO
   NA THANIEL E. JACKSON
                                                                          )            APPELLANT'S APP.R 26(A)
                                                                          )            APPLICATION TO RE.OPEN
               Defendant. Appellant
                                                                          )


                                                                                                          \'
                                                                                                          I
                                                                                                    COURT



                                                                                                                     OH
                                                                                                 KAREN ALLEN, CLERK,


             Now comes the Plaintiff.
                                                     Appellee, the State of Ohio ("State"), by and through the

 undersigned counsel, and for the reasons listed below, urges this Court to OVERRULE

 Defendant.Appellant Nathaniel E. Jackson's ("Appellant") "Motion for Reconsideration" filed

 March 16,2006. Appellant asks this Court to reconsider its decision of
                                                                                                 March 6, 2006, wherein it
 affirmed the decision by the Trumbull County Common Pleas Court to dismiss his petition for

postconviction relief             without hearing. See State v, Jackson, 1 ph Dist. No. 2004.T.0089, 2006-

Ohio.1007.

            By way of introduction, App. R. 26 does not provide specific guidelines when a party to

an appeal asks a reviewing court to reconsider or modify a prior decision., State v. Owens (1996),

112 Ohio App. 3d 334,335. In li¡fathews v. iÌJathews (1982),5 Ohio App.3d 140, 143, the court

held:

              "The test generally applied (upon the filing
                                                                              of a motion for reconsideration in a Jackson Apx. Vol. 17
                                                                                                                             Page 174

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              court of appeals, pursuant to App.R. 26(A) ) is whether the motion for
              reconsideration calls to the attention of the court an obvious error in its decision
              or raises an issue for our consideration that was either not considered at all or was
              not fully considered by (the court) when it should have been."

  An application for reconsideration is not designed to be used in situations where a party simply

  disagrees ~ith the logic employed or conclusions reached by the cour. Owens, supra, at 336.
                    ';Y"'~


  Moreover, it is a bedrock principle of postconviction procedure that "a final judgement of

  conviction bars the convicted defendant from raising and litigating in any proceeding, except on

  appeal from that judgment, any defense or claimed lack of due process that was raised, or could

  have been raised by the defendant at the trial which resulted in the judgment of conviction or

 appeal from that            judgment." State v, Perry (1967) 10 Ohio St. 2d 175,180.

             Appellant fìrst criticizes this Court's opinion for its treatment of the trial couii's

 rejection of his claim that the selection process for his petit jurors was tainted by the "systematic

 exclusion of African.Americans." Appellant alleges this Court and the trial couii misapplied the

 doctrine of res judicata to this claim. But Appellant's App. R. 26(A) application must fail

 because it does 110t cite to an "obvious elTor" which would have changed the outcome of this

appeal, and because this Court properly applied the doctrine oCres judicata in affrming the trial

court's decision.


         Appellant faults this Court for finding that the Diane Wiley "affdavit" was over ten years

old. True, the affidavit is a mere six years old having been signed in 2000. That

notvvithstanding, the date stamp on the Wïley repoii is inconsequentiaL. Her repoii refèrenced

the Roderick Davie capital murder trial, not the Nathaniel Jackson triaL. The Roderick Davie trial

occurred in 1992, ten years before Appellant was tried and convicted. Even with a 2000 date,



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  the Wiley affidavit was clearly available to Appellant in plenty of
                                                                                             time for his 2002 trial and
  could have been used to challenge the venire at that time. Such evidence which is "known and

  available" to the defendant does not constitute evidence to prevent the application of res judicata.

  State v. Dempsey, (June 15, 2000), 8th Dist. No. 76386, *6; State v. lvicCaleb, 11 th Dist. No.

  2004- L.003¡'~';!2005.0hio-403 8, at ~21. Therefore, the trial court and this Court properly applied


  the doctrine of res judicata to this claim.

             Additionally, this Couii made two points that demonstrate why the Wiley affidavit does

 not provide suí1cient operativejètcts as required by RC. 2953.21 (C) and State v. Calhoun

 (1999),86 Ohio St. 3d 279, 282, to support his claim of
                                                                                   racial discrimination injury selection.
 Neither the Wiley repoii, nor any of
                                                           the other "evidence" submitted by Appellant, indicates the

 race of the jurors or the methods by which they were chosen. "Even if we were to assume all of

 the names (of         jurors) were non Aífican.Americans, that evidence does not address the 'selection'

 process." Jackson, at ~113.


            Moreover, neither the Wiley report, nor the rest of the evidence submitted by Appellant

shows that there was a ,systematic exclusion of minorities in the petit or grand jury selection

process. Without a demonstration of a systematic exclusion of certain members of
                                                                                                            his venire, he
cannot support his claim. State v. Davie (1997), 80 Ohio St. 3d 311, 316, 317. Therefore, there

is no "obvious" error that this Court must conect by reconsidering its opinion.

           It cannot go umnentioned that Appellant in his application states that Ms. Wiley

"documented that minorities had been systemically culled from the petit jury in another capital

case before the same trial judge." Application at page 3. This is a complete misrepresentation of

the Wiley report. Wiley never demonstrated "systematic culling" in any Trumbull County case;


                                                                           "l
                                                                         ..) -                                    Jackson Apx. Vol. 17
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  she instead made a wholly unsupported theory of same based on who sat on the Davie jur, not


  on how they were selected. To this day, Roderick Davie's conviction stands undistubed by any

  state or federal cour even with Ms. Wiley's groundless insights.

              As for_ trial counsel's "failure" to raise the Wiley affidavit or report at Appellant's trial,

 such would1iave been to little avail without proof that jurors were (1) systematically culled from

 Appellant's case (2) because of their race. Without these two showings, which appear nowhere in

 the record, trial counsel cannot be branded as ineffective pursuant to Strickland v. Washington

 (1984) 466 U.S. 668. Strickland holds that for a criminal defendant to succeed on a claim of

 ineffective assistance of counsel, he must demonstrate that counsel's performance was deficient,

 and that the defendant was prejudiced by that performance. Id. at 687.

              In the context of an ineffective assistance of counsel claim, this Court held, "(a) proper

 challenge on this subject at trial would have required counsel to present evidence that this grand

jury, this petit jury, and/or this jury foreperson were improperly selected." Jackson, supra, at

~113. Since no such evidence was available for the postconviction exercise, is it unreasonable to

believe it would have been available to trial counseL. Moreover, "even if appellant had

established ineíIective assistance of counsel in this regard, he stil had to show prejudice. He

tàiled to show that any ofthe selection processes were flawed or that any of
                                                                                       the results were the

results of     bigotry." Id. at ~114. Therefore, AppelIant could not demonstrate a Strickland

violation with or without the application of res judicata.

             For these reasons, this Court properly affirmed the trial court's fìndings that Appellant's

claims of a racially culled jury are baiTed by the doctrine of res judicata. Thus, there is no


"obvious error" to correct.


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                  Appellant next claims error in this Court's opinion that it again misapplied the doctrine

      of res judicata in dismissing Appellant's claim that defense counsel failed to properly minimize

     Appellant's role in the kiling by capitalizing on co-defendant Donna Roberts' penchant for

     African-American males and her ability to manipulate the Appellant. First, any claims that the

    jury was tdfally clueless as to the fact that Appellant and Roberts shared a mutual infatuation

    with each other
                              and with victim Robert Fingerhut's money is belied by the record. The jury had

    before it stacks of letters and recorded phone conversation wherein the couple express their love

    and lust for each other, and their plot to kil Fingerhut. In addition to these well preserved

   expressions of lust, greed and homicidal intent, the jury heard mitigation testimony from Dr.

   Sandra McPherson who characterized the Appellant/Roberts relationship as "very destructive."

   She described how Roberts bolstered Appellant's ego, offered him structure and financial

  stability. (Tp. Vo1.6, p. 56.58). Since the jury heard this testimony, evidence of

                                                                                      Roberts'
  frustrated sexual liaisons with Santiago Mason, or her harassing bus station security for allegedly

  hassling black customers, or her treating three or four "black guys" to hair cuts would have been

 at best cumulative or inelevant, and probably inadmissible.

             Moreover, Appellant in his postconviction petition failed to present any evidence that

 Roberts' role in the Fingerhut shooting was more involved than what was presented to

                                                                                       the jury.
Indeed, Appellant, in his video-taped confession tape, never denied killing Fingerhut. He

claimed the shooting was in self-defense and told police Roberts had nothing to do with it.

(State's Supp. Ex. 4, p. 32). Thus, even if
                                                                  this Cour eiTed in concurring with the trial court's

application of the doctrine of res judicata (and the State does not concede or imply that it did),

Appellant failed to submit sufficient operative jàcts as to why trial counsel were ineffective in



                                                                         .5.                                      Jackson Apx. Vol. 17
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       failing to promote a Donna-made-me-do_it defense. As this Cour correctly notes in its opinion,

       "(tJhere is no evidence in or out of
                                                the record to suggest that appellant was a reluctant or
      unwillng participant, or that Roberts had a superior intellect. As previously indicated, the

      defense of self.defense had little relevance to appellant's relationship with Roberts." Jackson at

      ~ll7.

                 Neither this Court, nor the trial court, will find a viable claim of ineffective assistance of

     counsel by their "failure" to exploit Roberts' alleged superior intelligence. The nine police

    reports submitted by Appellant are not "verifiable facts" as to this claim. As for Appellant's

    claim that he had "nothing to gain" by killing Fingerhut, one need only review the record in this

   case to see "nothing" could be further i1-om the truth. Even with the $550,000 life insurance

   proceeds earmarked for Roberts, Appellant clearly anticipated a life.style upgrade \vith the cars,

   drugs, and a shared residence in the suburbs with Fingerhut's demise.

               Thus, the trial court's dismissal of the claim is legally supported, and this Court

  committed no obvious error in affrming the dismissaL.




                                                  CONCLUSION
            The trial cour properly dismissed AppeUant petition without hearing because the above

claims were rightly barred by the doctrine of res judicata. Even if this Couii reconsidered its


position regarding the application of
                                              res judicata, the petition \vas devoid of the sutncient
operative facts necessary to merit a hearing. Thus, this Cour made no obvious error in at1Ìm1Íng

the trial court's dismissaL.

          Therefore, this Cour must overrule Appellant's applicatIon for reconsideration.



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                                                             Respectfully submitted,
                                                             DEN'NIS WATKINS (#0009949)
                                                             Prosecuting Attorney




                                                            COUNSEL FOR PLAINTIFF.APPELLANT,
                                                            THE STATE OF OHIO


                                                               CERTIFICATION

            I do hereby certify that a copy of
                                                 the foregoing motion was sent by ordinary U.S. Mail on
this 21 S1 Day of        March, 2006, to Attys. Randall Porter(#0005835), and David Bodiker, Counsel
for Appellant Nathaniel Jackson, Assistant State Public Defender, Office of
                                                                                          the Ohio Public
Defender, 8 East Long St. 11 th Floor, Columbus, Ohio 43215.




                                                                        .7-                          Jackson Apx. Vol. 17
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     ~ ot eporte in N.t.2d
     Not Reported in N.E.2d, 2000 WL 777003 (Ohio App. 8 Dist.)
     (Cite as: 2000 WL 777003 (Ohio App. 8 Dist.))

     Only the W estlaw citation is currently available.

     CHECK OHIO SUPREME COlJRT RULES FOR REPORTING OF OPINONS AND WEIGHT OF LEGAL
    AUTHORITY.

                                          Court of Appeals of Ohio, Eighth District, Cuyahoga County.
                                                      STATE of Ohio Plaintiff.   Appellee
                                                                        v.
                                                       Jack M. DElvíPSEY Defendant-Appellant
                                                                    No.   76386.
                                                                   June 15,2000.

    Character of     Proceeding: Civil appeal from Court of Common Pleas Case No, CR.33648 1, Affrmed.

    YiilliilDJ2.,JYl-ii-son, Cuyahoga County Prosecutor, k..~l2lj.§t912,ll:òr ~i:J:, Assistant, Prosecuting Attorney, Cleveland,
    for Plaintiff-Appellee.

    lt:iliiLJ&QItv, Esq., Cleveland, for Defendant-Appellant.

                                                        JOURNAL ENTRY AND OPINION
    l.QjlTt.R,1.
    7'1 Defendant-appellant Jack M. Dempsey appeals from the denial of his petition for post.conviction relief arising
    hom his convictions following a jury trial for aggravated arson (RÇ::. 290~,-021 and burglary (.Rc.Çc._291LJZJ.
    Defendant contends that the trial court eITed in not holding an evidentiary hearing because his petition asserted that
    evidence outside the record established ineffective assistance of counsel; the State's failure to timely disclose
    exculpatory materials prejudiced him; and the tral court should have granted a continuance of the triaL. vVe find no
    reversible error and affin.


   This case arose out of a fire purposely set at a conuerciaVresidential building at 1 1202 Lorain Avenue, Cleveland,
   Ohio around 11:00 p.m. on IvIarch 11, 1995, Thomas Padmonick, living upstairs with his two daughters, smelled
   smoke, called 911 and evacuated the building, The Cleveland Fire Departent responded and extinguished the blaze.

   Arson investigators were called in. They discovered broken glass in the back door of the building and two points of
   origin for the fire confirming suspicions that the tìre was deliberately set.

   While fire fighters were searching the basement for the electrical shut-off they found defendant in the basement lying
   unconscious on his stomach with his shirt pulled over his head, After CPR, defendant was taken to the hospital and
   was evemually treated for severe smoke inhalation and diagnosed with retrograde amnesia causing him to forget the
   events sUITounding the tìre,

   Defendant claimed at trial that on the night of the fire he went to the Dollhouse, a strip club, ordered a non-alcoholic
   beer and passed out after drinking same. Defendant claims he has no recollection after passing out, including how he
   ended up in a burning building, However, he argues that Steve Gallegos, a bouncer at the Dollhouse, drugged him and
   then placed him in the basement of the building while setting the fire,

   Steve Gal1egos was the ex.boyfriend of Jean Tomusko, a friend of defendant's. Ms. Tomusko had recently
   discontinued her relationship with Mr. Gallegos after she discovered that he had been working at the Dollhouse and
   after he asked her daughter  'Lisa to be a dancer. Defendant allegedly went to the Dollhouse on ~the night of the fire to
   see if Gallegos was still working there.


   Additional facts are contained in this Court's opinion affirming defendant's convictions on his direct appeal in Stgl?~
   Qe.J.'ls.~eì'0:iQ.\f.,.liLJ.997JL9:!Y9.h,Qga App, No.7ì479. unreported, reversed on a sentencing issue only in ~2.QI:ij2
   S.U1J.Q7.CL99 ID..

  On June 2, 1997. defendant filed his petition for post-conviction relief (R.C. 2953.2 U. The tral coun dismissed the
  petition without a hearing and entered tìndings of            fact and conclusions oflaw on May 5,1999, from which Jackson
                                                                                                                     this appealApx. Vol. 17
  was taken.
                                                                                                                                   Page 181


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    We wiI address defendant's assignments of error in the order asserted and together where it is appropriate for
    discussion.
      i. THE TRIAL COURT ERRD IN DISMISSING WITHOUT A HEARIG BASED ON RES JUDICATA ALL
      OF THE COtJNTS ALLEGED IN THE PETITION FOR POST-CONVICTION RELIEF.
      *2 II. THE TRIAL COlJRT ERRD IN DISMISSING COUNT ONE OF PLAINTIFF'S PETITION FOR POST-
      CONVICTION RELIEF WITHOUT AN EVIDENTLA.RY HEARIG \VHERE THE EVIDENCE OUTSIDE THE
      TRIAL RECORD DEMONSTRATED THAT THE FAILURE TO GRANT A CONTINANCE DEPRIVED THE
      PETITIONER OF HIS RIGHT TO THE EFFECTIVE ASSISTANCE OF COlJNSEL, DUE PROCESS, THE
      COMPULSORY PROCESS AND FAIR TRIAL PROVISIONS OF THE SIXTH AND FOURTEENTH
      AMENDMENTS TO THE UNITED STATES CONSTITUTION AND THE APPLICABLE PROVISIONS OF
      THE OHIO CONSTITUTION.
      II. THE TRIAL COURT ERRD IN DISMISSING COlJNT TWO OF PLAINTIFF'S PETITION FOR POST-
      CONVICTION RELIEF WITHOUT AN EVIDENTIARY HEARIG WHERE THE EVIDENCE OUTSIDE THE
      TRIAL REC~RD DEMONSTRATED THAT THE PETITIONER WAS DEPRIVED OF THE EFFECTIVE
      ASSISTANCE OF COUNSEL AND DUE PROCESS AND HIS FOURTEENTH AMENDMENTS TO THE
      lJNITED STATES CONSTITUTION BY THE FAILURE OF COUNSEL TO PROPERLY INVESTIGATE.
      INTERVIEW, LOCATE AND PRESENT THE TESTIMONy OF MATERIAL WITNESSES WHO WOUU)
      CORROBORA TE THE DEFENSE'S THEORY AND THE DEFENDANT'S TESTIMONY.

   "According to the post conviction relief statute, a criminal defendant seeking to challenge his conviction through a
   petition for pOSt conviction relief is not automatically entitled to a hearing." .,æE?,,~~_(Qll:_Q!i¡~LL9,22),S2_Qhi.9S!:Jg
   ?29L,2S2,~ cilÌng S'if¡te_i:CQI~,Li~~a2,). 2 QhiQ,SJ:.l~LlL?. The pivotal concem in determining whether to grant a hearing
   on a motion for post-conviction relief is whether there are substantive grounds for relief which would warrant a
   hearing based upon the petition, the supporting amdavits, and the fies and records of the case,
   (192~)LJQ.L0l1iQÔpP.:-2çl,2,,Q~l?L 0=tgre 'i".,tru!JQ!¡J 198 8t.Ji2, 0 li"iQ..6J?J-iL,24 8.

   The post-conviction remedy statute, ß..'ç. 29..'1,21(q, states in pertinent pan:
     * * * Before granting a hearing on a petition tied under division (A) of this section, the court shall determine
     whether there are substantive grounds for relief In making such a detennination, the coun shall consider, in
      addition to the petition, the supportng affidavits, and the documentary evidence, all the files and records pertaining
     to the proceedings against the petitioner, including, but not limited to, the indictment, the coun's joumal entries, the
     joumalized records of the clerk of the court, and the court reporter's transcript. The court reporter's transcript, if
     ordered and certfied by the court, shall be taxed as court costs. If the court dismisses the petition, it shall make and
     file findings of fact and conclusions of law with respect to such dismissaL.

   Pursuant to F",(~:2,2~3.:,2J(Ç), the trial court dismissed defendant's post.conviction petition and issued findings of fact
   and conclusions of law on each issue raised in the petition. (Findings of Fact and Conclusions of Law filed Ivlay 5,
   1999),

   This Court stated the test to be applied in determining the necessity of a hearing in
                                  unreported at 4-5:
                       post.conviction relief may be dismissed without a hearing when the petitioner fails to submit with
                  evidentiary material setting forth sufficient operative facts to demonstrate substantive grounds for relief.
     S:rgt?,l/j(/!.jcs(j.lLL2,S,Q),,64 ,Q.1iQ,SL2,gJQ,,, The test to be applied is "whether there are substantive grounds for
     relief that would wanant a hearing based upon the petition, the supporting affidavits and the fÏes and records in the
     case." ,5't(.(,V5i!r,il£!9Ji(l9S,St,2,,2,,.phiQ App,3d,24,s. ;221.. A petitioner satisfies his initial burden submitting
     evidence outside the record sufficient to avoid dismissaL. See


   We find, as did the trial court, that defendant's assigtID1ents of enol' are barred by the doctrine of res judicata, Because
   post-conviction petitions are quasi-civil, any claim that was or could have been raised at trial or on appeal is barred by
   the doctrine of res judicata, The Ohio Supreme Court has held:
      Under the doctrine of res judicaTa. a final judgment of conviction bars a convicted defendant who was represented
      by counsel from raising and litigating in any proceeding, except an appeal from that judgment any defense or any
      claimed lack of due process that was raised or could have been raised bv the defendant at the trial, \vhich resulted in
     that judgment of con'viction, or on an appeal from that judgment. ' .
                                                 paragraph nine of the syllabus.

  However, competent, relevant, and material evidence de hors the record mav defeat the anplication of res judicata,
  sr(¿T~yLa~v~Qiiu22~Ll()3,Q.hi.96pl2~i~U02, However, this evidence must demonstrate th~i the petitioner could not
  have appealed the constitutional claim by use of information found in the original record. 1d

  Defendant states that he submitted ample evidence outside of the record that he was "drugged and transported from
  the Dollhouse to the Lorain A venue building and abandoned after the arson was committed by Steve Gallegos andior
  others." (Aplts Brf. at 14), In support of his petition for post-conviction relief~ defendant attached the affidavit of
  Kathryn Thomas (defendant's trial counsel); the affidavit of Stephanie Wyant (a dancer at the Dollhouse); the
  deposition testimony of John Yatson (Chief of the Arson Unit of the Cleveland Fire Department); the affdavit of
                                                                                                          Jackson
  Katherine Hil (a friend of defendant); the affdavit of Jesus Cruz (an investigator for the Cuyahoga County   PublicApx. Vol. 17
  Defender's Offce); the affdavit of Jean Tomusko (a IÌ'iend of defendant who dated Steve Gallegos); the affidavit of Page 182



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   Lisa Tomusko (daughter of Jean Tomusko); the deposition testimony of Julie Milano (owner of the Dollhouse); the
   deposition testimony of Andrew Segedy (owner of the Lorain A venue building); and the affdavit of Thomas
   Tomusko (son of Jean Tomusko).

   Defendant summarized the contents of the above testimony attached to his petition as follows:
      *4 Mr. Segedy: (Owner of the Lorain Ave. building) He was threatened by a Mr. Gallo and Mr. Oritiz (sic) before
      the fire had occUlTed. There were threats of "Mafia."
      Stephanie Wyant: (Former dancer at the Dollhouse) Recounts the evening of
                                                                                   the fire, and confirms the presence of
      Jack Dempsey and Steve Gallegos at the Dollhouse, and the apparent drgging of Jack Dempsey by Steve Gallegos.
      Miss Wyant also discussed the later finding of the keys by Julie Milano at the Dollhouse, the description of which
      matched the keys of Jack Dempsey.
      Chief Yatson: Confirmed that Miss Wyant provided a statement to him.
      Julie Milano: of the Dollhouse) Found keys as noted above and spoke of the violent character of Steve
      Gallegos.
      Jean Tomusko: (Friend of defendant) Gallegos told her that he would harm Jack Dempsey after seeing Dempsey's
      picnire at her house.
      Kathryn Hill: The keys described by Stephanie Wyant matched those of Jack Dempsey.
   (Aplt's Brf. at 13-14).

   As discussed above, in order to defeat the application of resjudicaìa, defendant must present competent, relevant, and
   material evidence de hors the record that demonstrates that the defendant could not have raised these issues on direct
   appeal by use of informaTion found in the original record. It is clear tÌ'om the record before us that Mr. Segedy and
   Chief Yatson testified at defendant's triaL. Regarding the other witnesses, they were known to defendant but trial
   counsel chose not to call them to testify. "(lIt is well established that counsel's decisions concerning which witnesses
   to call at tlÍal fall within the realm of trial strategy and tactics and generally wil not constinite ineffective assistance
   of counseL." Sjc£tli,!..QtlLE.5'2£~JJY.l3L.~. 2000). CuyahoK~AP.Q,-,'i-, 75~1í1 unreported, quoting SJ.(llf.'i:__§mitli,Ü9.2i5J",
   J.,1SQhLQ.6JJJ2,3 d 1J.2:.,42 6.

   All of the above witnesses were  known to defendant at the time of triaL Accordingly, we find that this evidence was
   available on direct appeal when defendant was represented by new counsel and was therefore not evidence de nors the
   record as defendant asserts.

   Defendant asserts that the trial court erred in dismissing his petition for post-conviction relief without an evidentiary
   hearing where the evidence outside of the record demonstrated that his motion for a continuance should have been
   granted, We find that this issue was properly dismissed on resjudicaìa grounds.

   The decision whether or not to grant a motion for continuance is a matter within the discretion of the trial court.
   2'_L!!igfl.:12SJ.1.il,Qhiçi,;t.2ctt5,2. In Unger, the Ohio Supreme Court stated:
      The grant or denial of a continuance is a matter that is ent11sred to the broad, sound discretion of the trial judge. An
      appellate court must notreverse the denial ofa continuance unless there has been an abuse of discretion.
   Id. at 67, cíting~iI2g(Y~YcS,(E~¡jt.e ( 12i5.iL 376 Jl.:S..)7 5. The term "abuse of discretion" connotes more than an error of
   law or judgment, it implies that the court's attinide was unreasonable, arbitrary or unconscionable.
   E!(z¡((?ln()I'C~ ,(.12S3 L2,Qlii().â.t~,cLlJL,~12.


   *5 The record reí1ects that the trial court's failure to grant the continuance in question was raised by the defendant and
   fully litigated on his direct appeaL It is well established that issues cannot be considered in post-conviction
  proceedings where they have already been fully litigated on direct appeaL 0)ate v. Per"!1'.u.9_§11.iOQhiçi_;:L~icLE2,
  paragraph seven of the syllabus. On direct appeal, this Court held that the trial court's failure to giant defendant's
  request for a continuance was not violative of the iight to effective assistance of counsel, due process, the compulsoiy
  process and fair trial provisions of the Sixth and Fourteenth Amendments to the U.S. Constihition. S'!2íe \'.I2f!~i¡2s?y
  (liu-'I.l.t2,1227J.:,Ç.Llyaligg¡¡..::.''I,12,J::2.,.1.L472, unreported. Therefore, absent competent, relevant, and material
   evidence de hors the record that defendant could not have raised this issue on direct appeal, this claim is barred by res
  judicata,
  On May 31, 1996, the defendant fïrst filed a motion for continuance, Said motion was granted on June 5, 1996, with a
  new trial dare set for August 12, 1996. As a result, defendant was given an additional two months to investigate and
  prepare for (liaL On August 2, 1996, defendant filed another motion for continuance which the trial court denied. On
  ¡he August 12, 1996 trial date, defense counsel orally requested a continuance on the basis that co.counsel was ill and
  that an allegedly exculpatory wimess had just been made known to the defense. This Coun addressed these veiy
  issues in the original direct appeal and found no abuse of discretion in the u'ial coun's denial of the continuance.
  Dempsey, supra,

  Defendant asserts that resjudicaìa does not apply to this claim because he has presented new evidence to establish the
  trial coult's enor in denying the continuance. In support of this assertion, defendant relies on the affdavits of defense
  counsel Kathryn Thomas and investigator Jesus Cruz attached to his petition. In her May 30, 1997 affidavit, Ms.
  Thomas stated:
                                                                                                     Jackson
     On August 2, 1996, I fied a Motion for Continuance based onMr. Cruz's having only met Jack Dempsey on JulyApx. Vol. 17
     29, 1996. Also, Mr. Cruz had a vacation planned and needed until September 23, 1996to properly investigate the                    Page 183


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        matter. Mr. Cruz's affidavit was attached to the Motion for a Continuance. I asserted in the motion that the
        continuance was necessary to provide the effective assistance of counseL.
     (Thomas Aff. at ii 11). Ms. Thomas attached to her August 2, 1996 motion for continuance, an affdavit from Mr.
     Cruz in which he stated:
       On July 22, i 996 Mr. Svekrc left the Public Defender's Offce for a job with the Mayor's offce and he returned all
       of his case fies. No significant work has been completed on (the Dempsey) fie.

       On July 29, 1996 I met with the client and his counsel, Kathr A. Thomas.
       Due to the nature of this case and the amount of documentation to review and witnesses to contact, I am unable to
       complete the investigation in time to allow the attorneys to prepare for traL
       *6 I have a scheduled vacation from August 19, 1996 to September 6, 1996. In my professional opinion, I need at
       least until September 23, 1996 to properly complete the criminal investigation in this matter.
     The defendant attached a similar affidavit from Mr. Cruz in support of his petition for post.conviction relief in which
     Mr. Cruz stated:.!.!"
       As a professidiial investigator, I respectfùlly submit there was insufficient time to locate and interview the witnesses
       and to investigate all of the circumstances surrounding the case. I signed an affidavit which was fied with the court
       when Kathryn Thomas submitted a Motion for a Continuance of
                                                                          the August 12, 1996 tral date.
     (Cruz Aff. aqiii).

     These affidavits do not constitute evidence de hal'S the record that was not in existence or available to defendant in
     time to suppOrt his direct appeaL These statements both involved Mr. Cruz's inability to thoroughly investigate the
     witnesses prior to triaL Furthermore, the August 2, 1996 motion for continuance with its supporting affdavit of Mr.
     Cruz are part of the trial record.

     Because this evidence was known and available to defendant on direct appeal, it does not constitute evidence de hal'S
     the record to prevent the application of res judicara. Accordingly, the tTial coun correctly dismissed without a hearing
     on res judicata grounds defendant's claim that the trial court erred in not granting his motion for continuance.

     Defendant also asserts that the trial coun erred in dismissing his petition for post.conviction relief without an
     evidentiary hearing where the evidence outside of the record demonstrated thaT he was deprived of the effective
     assiSTance of counseL We find that this issue was also properly dismissed by the trial court based on res judicata,

     This Court described the standard of review to make a showing of ineffective assistance of counsel in
     T(ìl\!ì:1D,2221,lQ0Qlij9J\2E.3..çU1L_2)'s:-2..6:
       The standard of review for ineffective assistance of counsel requires a two-part test and is set forth in ,5~t?ir¿kJg!H:.L.i!:
       Hfq,\!!i~lgi2Jz.Jl9_Si1.1g0.1LS,_Q9"§_cJ-rL''LS.,Çt:.1Qi2,,_~JLlJ~92_Cl 674. See, also, s!gt.e.'L.l!:Qlil€.t.LL~S2J-,_4.?QJii.9
       SUsLJ 3  (i,. 238 NJ~L?cLl.n, "(T)he defendant must show that counsel's represemation fell below an objective
       standard of reasonableness." Strickland at 687-688. 104 S.Ct. at 2064,80 LEd,2d at 693. The defendant must also
       prove that "there is a reasonable probã¡jllltyth-at,-buttQrc.auìiŠel'šuÎiprofesšionaTërro~the result of the proceeding
       would have been different. A reasonable probability is a probability suffcient to undermine confidence in the
       outcome," M ax§9.4_""lQ4j.:Ç"LilI2068. S.Ql,:g_çl2d.flr.9.98.

    Furthermore, when determining whether counsel's perfonnance was deficient "a court must indulge a stTong
    presumption that counsel's conduct fàlls within the wide range of reasonable professional assistance; that is, the
    defendant must overcome the presumption that, under the circumstances, the challenged action 'might be considered
    sound trial strategy," , SJ!2r¿kJgnd v, W.f.sfzj,ig!ol~02.S4L1f~QJ1:â. 668,.9S2. A defendant's failure to satisfy either of
    the two Sirickíand tests is suffcient to dismiss the claim of ineffective assistance of counseL

    *7 We find that the trial court cOlTectly deteimined that res judicata also balTed defendant's ineffective assistance
    claim. The Ohio Supreme Court has held that a petition for post-conviction relief alleging ineffective assistance of
    trial counsel may be dismissed without a heaiing based on resjudicaia where the petitioner had new counsel on direct
    appeal and the claim of ineffective assistance of counsel could have been raised on direct appeal without resortirtg to
    evidence outside of the record. See citing Stat.§_l':(QJ.?J.19a?Ji.-l.Q.bj()
                  at syllabus.

    Detèndam asserts that trial counsel was ineffective in failing to insure that key willesses were contacted and
    investigated. Defendant asserts that trial counsel failed to p'irsue available material evidence that \vould have
    corrobõrated defendant's version of the events and the defense's theory that defendant was drugged and placed in the
    burning building.

    As stated above, res judicata is a proper basis for dismissing a petition for post-conviction relief based on ineffective
    assistance of counsel when such claim was or could have been raised on direct appeaL. The record ref1ects that
    defendant was represented by new counsel on his direct appeaL. Furtermore, it is clear that defendant's claim of
   ineffective assistance of trial counsel could have been raised on direct appeaL. Defendant poims to several failures by
   trial counsel to investigate and pursue his defense. Even though defendant's evidence could arguably support a claim
   of ineffective assistance, all of these alleged failures were known at the time of trial and could have been raised on
   direct appeal based solely on the trial i:ecord. This evidence does not constitute evidence de hal'S the Jackson
                                                                                                              record as Apx. Vol. 17
   defendant asserts. Therefore, the trial court properly dismissed defendant's claims of ineffective assistance of trtal
   counsel as barred by res judicara.                                                                                     Page 184



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     Assignments of Error I, II and II are overrled.
         IV. THE TRIAL COURT ERRD IN DISMISSING COUNT THE OF PLAINTIFF'S PETITION FOR POST-
         CONVICTION RELIEF WITHOUT AN EVIDENTIARY HEARG WHERE THE EVIDENCE OUTSIDE THE
        TRIAL RECORD DEMONSTRATED THAT THE STATE'S FAILURE TO PROVIE TIMELY
        EXCULPATORY IN"FORMATION WAS IN VIOLATION OF THE DUE PROCESS CLAUSE OF THE
        FOURTEENTH AMENDMENT TO THE UN1TED STATES CONSTITUTION AND ARTICLE I, SECTION

        OF THE OHIO CONSTITUTION.                                                                                                               10

     In his fourth assignment of error, defendant alternatively asserts that the State failed to provide exculpatory evidence
     to the defendant in violation of the United States and Ohio Constitutions. Specifically, defendant asserts that the State
     failed to provide the defense with information regarding Mr. Oriti's threats to shoot Mr. Segedy, Bil Gallo's theats to
     get the mafia Mr. Segedy and to provide him with the statement of Stephane Wyant.

     First, this issue should have been raised on direct appeal and therefore, it is barred from consideration in this post-
     conviction proceeding. Secondly, even if this issue is properly before this Court, we find that the trial court did not
     abuse its discretion in dismissing it without a hearing.
     7:8 Defendant relies on BracJ:Lu'iarylanc1.Jl2f5J1 3 73 ,U.~_S3 ,-_i9 S, Ct. -i 194._1 O_lßd.:IQ_::l~ in support of his
     claim. In Brady, the United States Supreme Court stated:
       The suppression by the prosecution of evidence favorable to an accused upon request violates due process where
       the evidence is material either to guilt of punishment, ilTespective of the good faith or bad faith of the prosecution.
     !d at 87. How'ever, the mere possibility that non.disclosed information might have assisted the defense or might have
     affected the ourcome of the trial does not establish "materiality" to create a constitutional violation. This Court in
     StQ!.e v, ,,4ø.1JLOJ:itcl:01995Ji-JQi_Ohio Am2,ÇS2, 92. citing Kyles)l, Whitley (1995),514 U.S. i.11.S,Çl.Jj~-,
     Ll.1.lj:L4,-2~L'l.Q, set forth a four.prong test to determine if evidence suppressed by the State is "material" as foIlows:
       First, favorable evidence is material, and constihitional enor results from its suppression by the government if there
       is a reasonable probability that had the evidence been disclosed to the defense, the result of the proceeding would
       have been different. Ú!"jJ:'L1LS.:aj:,--Ji,s._S..ÇL'!U.._6.§. A " 'reasonable probability' is a probabilìty suiTicient to
       undermine confidence in the outcome. II Id,; see, also, Starev Johnston II 988), 39 Ohio St.3d 48. 529N,-t,2d 898,
       paragraph five of the syIlabus. Second, a defendant may--shöw-a-Brë¡äy-vTõiãtiön-by sl;õ-wing-that -î:hè - t'aVö'rab-le
       evidence could reasonably be taken to "put the whole case in such a different light as to undermine confidence in
       the verdict." ¡d. Third, if the reviewing court should find constitutional elTor, there is no need for flirther haimless
       enor review, !d. Fourt, the state's disclosure obligation hims on the cumulative effect of all suppressed evidence


       l,.-t_ci19_.'S_2,QZ-5QQ.' , ..__..._,_..'.~._--
       favorable to the defense, not onlv the evidence considered item bv item. ¡d.. 514 U.S, at . 115 S,Ct. at 1567. 131



    Defendant claims that "the statement of Mr. Segedy concerning Mr. GaIlo and Mr. Oriti shoù1d have been disclosed
    earlier than Friday afternoon. Also, the state should have provided the statement of Stephanie Wyant to defense
    counseL." (Aplt's Brf at 35.36). We find that the cumulative effect of these statements would not have changed the
    outcome of defendant's trial and therefore, were not "material" as to his guilt.

    The record reflects that Mr. Segedy, the owner of the Lorain A venue building, told the police that he was threatened
    by Mr. Gallo and Mr. Oriti on two separate occasions, Defendant claims that if
                                                                                                             this evidence was properly inu'oduced
    to the jury, it would corroborate that someone else started the fire. It is undisputed that the State did not provide the
    defense with the statements of Mr. Segedv and Ms. Wvant imtil the Fridav before tral. However, the record further
   reneets that the defense was aware of tiie -threats made 'by Mr. Oriti and lvfr Gallo prior to triaL In
                                                                                                    her affidavit, Ms,
   Thomas also stated that on August 9, 1996, she was told by a prosecutor that Mr. Oriti had theatened to shoot Mr.
    Segedy and Mr. Gallo had threatened to get the MaIÌa after him. (Thomas Afr. at ~r (2). Defendant's trial commenced
   on August 12, 1996,

   *9 We find that no Brady violation OCCUlTed in this case. "The Ohio Supreme Court has articulated clearly, however,
   that Bracf); applies only in situations where infonnation known to the defense is discovered after triaL. ,. ,$.l(Jt.c,_ì)c.lnz'.vr/
   U92(5),JJ2,.Ql:iI-a-.'j,.RP,Jcl. 2ß.:2,...2,s citing Srrrt",,-i~Jf.0Mi~e.J.J22..l,lQ..d.hlQj.tJ.(LU4,IJ§, Therefore, because the
   information regarding Mr. Oriti and Mr. Gallo was revealed prior to trial, no Brady violation occuned.
   Furthermore, Ms. Wyant stated in her affdavit that approximately one to two months after the fire, she met with the
   defendant at his request. (Wyant Aff. at ~ 11). She further stated that "Mr. Dempsey took Sherrie and myself down to
   the Police Station and I toid the police basically the same information that I am providing in this Affidavit." (Wyant
   AfT at ~ 12).

   Based on this evidence, defendant was obviously aware of Ms. Wyant long before trial, had full knowledge of the
   information that was included in her statement and could have taken advantage of any exculpatory evidence knO\vn to
   her at triaL. Accordingly, no Brady violation occurred and defendant cannot establish that he was prejudiced by the
   State's failure to provide the statement as there is no "reasonable probability that had the evidence been disclosed to
   the defense, the result of the proceeding would have been different."
                                                                                                                                       Jackson Apx. Vol. 17
   Assignment of Enor IV is overrled.                                                                                                            Page 185



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     Judgment affirmed.

     It is ordered that appellee recover of appellant its costs herein taxed.
     The Court finds there were reasonable grounds for this appeaL.

     It is ordered that a special mandate issue out of this Court directing the Cour of Common Pleas to carr ths judgment
     into execution.

    A certified copy of       this entr shall constitute the mandate pursuant to Rule 27 of
                                                                                                       the Rules of A¡;i:ellate Procedure.
    O'DOJ:!~l:Ll,             and BLACK.ivl0N, 1., concur.
    N.B. This entry is an announcement of the court's decision. See App.R. 22(B),~(D) and lci~A.; Loc.App.R. 22. This
    decision will be journalized and wil become the judgment and order of the court pursuant to c\J2l2_22(E) unless a
    motion for reconsideration with supporting brief, per Ai. 26(A), is fied within ten (10) days of

    of the court's decision. The time period for review by the Supreme Court of Ohio shall beginthe   to announcement
                                                                                                         run upon the
    joumalization of this court's announcement of decision by the clerk per 6m:ùL 22(E). See, also, S.Ct.Prac.R. 112,
    Section 2(A)(1),

    Not Reported in N.E.2d, 2000 WL 777003 (Ohio App. 8 Disr.)

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       Slip Copy, 2005 WL 186211 1 (Ohio App. 11 Dist.), 200S.0hioA038
       (Cite as: 2005 WL 1862111 (Ohio App. 11 Dist.))

      CHECK OHIO StJPREME COURT RULES FOR REPORTING OF OPINIONS AND WEIGHT OF LEGAL
      AUTHORITY.

                                             Court of Appeals of Ohio, Eleventh District, Lake County,
                                                            STATE of Ohio, Plaintiff-Appellee,
                                                                                   v.
                                                      Vincent S. MCCALEB, Defendant-Appellant.
                                                                         No.2004.L-003.
                                                                           Aug. 5, 2005.
     Background: Defendant moved for postconviction relief while his direct appeal fTom his convictions for felonious
     assault, aggravated burglary, and victim intimidation was pending. The state moved to dismiss petition. After
     defendant's convictions were affrmed on direct appeal, the Court of Common Pleas, Lake County, No. 02 CR
     000 1 04, dismissed petition without hearing. Defendant appealed.

     Holding: The Court of Appeals, Grendell, J., held that doctrine of res judicata barred all arguments in defendant's
     motion for postconviction relief.
     Affrmed.

     Criminal Law ~1433(2)
     IIOkI433(2)   Most Cited Cases
     Doctr;:;.;õTres'TiÏdicätã ba:í1.ëd all arguments in defendant's motion for postconviction relief; arguments were either
     raised or could have been raised in defendant's direct appeal from conviction,R,CL.L~,2,2L£l (All

     Civil Appeal from the Lake County Court of Common Pleas, Case No, 02 CR 000104. Affrmed. 1 )( aJ,LC),LEJ
    ÇI.l.Q£l~,S.J~.:.ç()l!ls'QQ, Lake County Prosecutor and Alana A. Rezaee, Assistant Prosecutor, Painesville, OH, for
    Plaintiff-Appellee,

                                  Lake Offce of Julie Mitrovich King, Chagrin Falls, OH, for Detèndant-Appellant.

                                                                            OPINION
                       J.

    7:1 (i¡ 1 j Detèndant.appellant, Vincent S. McCaleb ("lvIcCaleb"), appeals from the judgment of the Lake County
    Court of Common Pleas, dismissing his petition for postconviction relief under R.:çc.1~S) ,21, For the following
    reasons, we affrm the judgment of the trial
                                                court.

    (~ 2) On April 26, 2002, McCaleb was indicted by the Lake County Grand Jury on the following charges: Felonious
    Assault, in violation ofR:,Ç,..~903, I1(A )(11; Aggravated Burglary, in violation of ß,C,.?,21LHL",JilJ; and
    Intimidation of a Victim in a Criminal Case. in violation of R.C. 2921,04(B). These charges stemmed from two
    separate incidents, The events culminating in
                                                                  the tèlonious assãülfChai:ge'oc'culTed in the ea~ly moming of January
    26, 2002, when McCaleb allegedly beat his girlfriend, Maureen Hickey ("Hickey"), over a period of several hours,
    causing severe injuries. The other charges resulted Írom another incident, which OCCUlTed on or around 12 :00 a.m., on
    Febmary 14, 2002, when McCaleb allegedly broke down Hickey's front door and began threatening Hickey and
    demanding that she tell police that someone else was responsible for the January 26 assault.

    (ir 3 ( A lìVO day trial by jury began on September 3, 2002, and McCaleb was subsequently convicted on all three
   counts, On October 4, 2002, the trial court sentenced McCaleb to seven years in prison for his felonious assault
   conviction, seven years for his aggravated burglary conviction, and two years for his 'intimidation of a victim
   conviction, to be served conculTently to each other, but consecutive to a sentence McCaleb was to serve in federal
   pnson.

    ('1 4 ( McCaleb timely filed a notice of appeal of his conviction and sentence with this cour. On June 24, 2003, while
   his appeal was pending with this court, McCaleb also filed a petition for postconviction relief pursuant to KC:
   £95:;.,21, alleging a denial of his constituional rights, under the Sixth and Foureenth Amendments of the United
   States Constitution and Article I, Section 10 of
                                                                 the Ohio Constitution.                                    Jackson Apx. Vol. 17
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      fil 5; Attached to his initial petition for postconviction relief, were twenty.
                                                                                                           four exhibits of various tyes. In addition
      to two affdavits from McCaleb himself, he presented affdavits from Judy Gain ("Gain"), Michelle Antonori
      ("Antonori"), Karl Kennedy ("Kennedy"), and Tim Lenk ("Lenk"), which purported to show that McCaleb was
      elsewhere on the night the crimes in counts two and thee were committed. McCaleb also presented various medical
      records from a period of time preceding the incident, documenting the problems with his lower back, and his own
      affdavit claiming that he was physically unable to perpetrate any of
                                                                                                the crimes.
      fir 6; The petition also alleged ineffective assistance and unethical conduct by McCaleb's tral counsel, supporting
     these allegations with clippings of newspaper articles related to sanctions imposed for violations of campaign rules
     related to trial counsel's candidacy as an Ashtabula County Court of Common Pleas Judge, as well as McCaleb's own
     affidavit, which claimed that his tral counsel failed to investigate potential alibi witnesses, that he threatened to
     withdraw as counsel if a payment for services was not made, and that he refused to let McCaleb testify in his own
     defense.
     *2 fir 7; Finallrl; McCaleb claimed that the jury selection process was unconstitutional, since he was black, and the
     jury was all white, and therefore, did not represent a fair cross.
                                                                     section of the community. In support of this allegation,
     McCaleb attached census data. McCaleb later was granted leave to amend his petition, attaching two additional
     medical charts to support his claim that he was physically unable to commit the crimes.

     fir 8; On September 2,2003, the State of Ohio, filed a response brief and motion to dismiss McCaleb's petition. On
     December 12,2003. the tral court, without a hearing, denied McCaleb's petition for postconviction relief, tlnding that
     "many of McCaleb's claims were barred by res judicata," and that the affdavits and other evidence submitted failed to
     establish a genuine issue as to any material fact that would provide grounds for an evidentiary hearing.

     fir 9; McCaleb now appeals, asserting two assigned elTors:

     ,¡i¡ 10) "(1.J The tral court committed reversible error by denying petitioner.appellant's petition for post-conviction
    relief without conducting an evidentiary hearing, as mandated by &,Ç:2Q.2~,21, and in violation of the Fifth, Sixth
    and Fourteenth Amendments to the United States Constitution and
                                                                    Aiticle I of the Ohio Constitution.
    (i! Ilj "(2, J The trial court committed reversible error by denying petitioner.appellant's petition for post-conviction
    relief on the basis of res judciata, thereby violating appellant's right to due process under the Fifth, Sixth and
    Fourteenth Amendments to the United States Constitution and Article I of the Ohio Constitution."

     fi¡ 12) Since McCaleb's assignments of error raise essentially the same arguments, they wil be discussed together. In
    his second assignment of error, McCaleb claims that the trial court elTed by finding that the following claims were
    balTed by res judciata: (1) defense counsel's failure to investigate the case and call Antonori, LenJ., Gain and Kemiedy
    as witnesses; (2) defense counsel's failure to investigate and present evidence of McCaleb's medical condition; (3)
    defense counsel's failure to permit McCaleb to testify on his own behalf; (4) defense counsel's "threats" to withdraw
    from the case; (5) defense counsel's allegedly unethical conduct at trial; and, (6) the constitutionality of the jury
    selection process.


    (ii 13) In his first assignment of error, McCaleb argues that the tral court erred by denying his petition without a
   hearing. where the evidence dehors the record establishes suffcient grounds to warrant a hearing on the evidence,
   McCal~b again specifically challenges the effectiveness of his trial counsel's representation, due t; detènse counsel's
   alleged failures to present exculpatory evidence/alibi witnesses; to present exculpatory evidence on the issue of
   appellant's "disabling medical condition"; and to present exculpatory evidence regarding McCaleb's "surgery on the
   day of the alleged aggravated burglary."

   *3 :ii 14)                       provides, in relevant part, as follows:

    (4;1 15) "(A)(l )(a) Any person who has been convicted of a criminal offense * * * who claims that there was such a
   denial or intiingement of the person's rights as to render the judgment void or voidable under the Ohio Constitution or
   the Constitution of the United States, * * * may file a petition in the court that imposed sentence, stating the grounds
   for relief relied upon, and asking the court to vacate or set aside the judgment or sentence or to grant other appropriate
   relief. The petitioner may file a supporting at1idavit or other documentary evidence in support of the claim
                                                                                                                                        tor relief.
    fir 161 "(C) * " * Before granting a hearing on a petition * " * the court shall determine whether there are substantive
   grounds for relief. In making such a determination, the court shall consider, in addition to (he petition, and supporting
   affidavirs, and the documentary evidence, all the files and records pertaining to The proceedings against the petitioner,
   including, but not limited to, the indictment, the court's joumal entries, the joumalized records of the clerk of the
   court, and the court reporter's transcript * * *

   fii 17) "(E) Unless the petition and the fies and records of the case shm.\ the petitioner is not entitled to relief, the
   court shall proceed to a prompt hearing on the issues, even if a direct appeal of the case is pending, * * * "

   f~r 18 J "(AJ postconviction relief proceeding is not an appealuf a criminal conviction, but, rather, a collateral civil
  attack on the judgment." State v, Calhoun, 86 Ohio St.3d 279, 281, 1996-0hio-102. As such, a hearing is Jackson
                                                                                                              not alwaysApx. Vol. 17
  required when a petition for postconviction relief is filed. rd. at 282-283; State v. Cole n98_~1.3 Obio__~Jd HlLLi-~l Page 188



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   443 N~E.2d 169; State v. lvfianovich (1975), 42 Ohio St.2d 46, 50, 325 N.E.2d 540; State v, Pierce. (1998), 127 Ohio
   MJ2)d 578, 585, 713 N.E.2d 498; State v. Worthy (May 30, 1997), 11th Dist. No. 96.P-0122, 1997 Ohio App.
   LEXIS 2370, at *5; State )i, Jackson (1980),64 Ohio St.2d. 107, 110,413 N.E.2d 819. The test is whether there are
   substantive grounds for relief that would warrant a hearing based upon the petition, the supportng affidavits, and the
   fies and records ofthe case. Jackson, 64 Ohio St.2d at 110,413 N.E.2d 819: State v, Strutton (1988), 62 Ohio App.3cl
   '?j.Ln2~ß.~_cL42-~ at paragraph one of the syllabus; Worthy, 1997 Ohio App. LEXIS 2370, at *6. "If no such
   grounds exist, the trial court should dismiss the petition for post-conviction relief sua sponte. " Id. (citation omitted).

   if¡ 19 J Furthermore, a petition for postconviction relief may be barred without hearing by the doctrine of res judicata,
   "where a petitioner could have raised issues in his petition at tral or on direct appeaL." Pierce, 127~-ili9 App.3d at
   575,_ZLL.t..E,:2_:t2,4, citing Stare v, Perr)! (1967). 10 Ohio SUd 175, 226 N.E.2d 104, at paragraph one of the
   syllabus (emphasis added). This is particularly tre where the petitioner obtained new counsel for their direct appeal
   and the claim of ineffective assistance could have been raised without resorting to evidence outside the record. Id.
   (citations omittetl). -
   *4 if¡ 20 J The record reveals that McCaleb retained new counsel for the purposes of filing his petition for
   postconviction relief and the same counsel represented him on appeaL. This court ruled on McCaleb's appeal on
   November 5, 2004, after the issues related to this appeal were briefed by the partes, and affirmed McCaleb's
   convictions, State v, McCaleb, 11th Dist. No,2002-L-157, 2004.0hio-5940. Among the assigned errors addressed by
   this court was an exact duplication of McCaleb's issues raised herein, relating to ineffective assistance of counseL
   McCaleb raised myriad arguments in support of his ineffective assistance of counsel claims. All of the arguments
   raised in  McCaleb's motion for postconviction relief are duplicative of arguments raised on direct appeaL. The trial
   court, in its judgment entr, explicitly stated that McCaleb's claims related to his counsel's alleged failure to call
   wimesses, to introduce potentially exonerating medical evidence, and to allow McCaleb to testify, were all raised on
   direct appeaL. The lower court also concluded that the issue of the racial composition of the jury pool being
   "unconstiturional" was also raised and addressed on appeal, and therefore barred by res judicata.

   fir 21 J Furthennore, none of McCaleb's arguments, even if they arguably had not been raised previously, are based on
   facts which were not known to him at the time of trial and prior to the filing of the appeaL. State v, Coleman. 1st Dist.
   No. C.90081 1, 1993 Ohio App, LEXIS 1485, at *22 ("evidence de hors the record must be more than evidence which
   was in existence and available to the defendant at the time of trial and which could and should have been submitted at
   trial if the defendant wished to make use of it. Simply put, the purpose of postconviction proceedings is not to afford
   one convicted of a crime a chance to retr his case"). For example, counsel's alleged "unethical" conduct, relating to
   his candidacy for judicial office, the allegations that counsel threatened McCaleb with terminating representation if
   payment of $2,500 was not made, and McCaleb's allegations that counsel appeared late for hearings, were all based on
   facts which were known prior to filing of the appeaL. Moreover, the letters from Hickey to McCaleb, referenced in
   McCaleb's      motion for post.conviction relief, in which she claimed that she had lied about I'IcCaleb being her assailant
   to get even with him, while     not introduced at trial, were consistent with testimony   Hickey gave at trial, and the jury
   had a chance to hear her testimony and judge her credibility, Accordingly, all of the arguments set forth in McCaleb's
   petition for postconvictiol1 relief have either been raised on direct appeal, or could have been raised, and are therefore
   balTed by res judicata, Thus, a hearing was unnecessary.

   fir 22) vVe find McCaleb's first and second assigmnel1ts of elTor are without merit and affrm the judgment of the
   Lake County Court of Common Pleas.

   P_Q-N,':LPKJQßl, PJ., Ç'YTl:Ll-A wEs~rCOIT,EJCE, 1., concur.
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 I
       STATE OF OHIO )                                      IN THE COURT OF APPEALS
ii                                            )SS.
       COUNTY OF TRUMBULL )                                 ELEVENTH DISTRICT
II


       STATE OF OHIO,

                        Plaintiff-Appellee,
                                                            JUDGMENT ENTRY
                - vs-
                                                            CASE NO. 2004-T-0089
       NATHANIEL JACKSON,

                        Defendant -Appellant.


           Upon proper consideration, this Court concludes that Appellant's motion to

      reconsider our prior Opinion and Judgment Entry in the instant appeal has merit.


I Therefore, the motion to reconsider is granted. It is the order of this Court that

I our Opinion and Judgment Entry of March 6, 2006 is hereby vacated.

          Consistent with the foregoing, the Clerk of Courts is instructed to strike the

      Opinion and Judgment Entry of March 6, 2006, from the record of this appeaL.

          A new Opinion and Judgment Entry shall subsequently be rendered in this

      matter, based upon the parties' prior submissions.
                                                     .ø.#



      WILLIAM M. O'NEILL, J.,
                                                                         FILED
                                                                      COURT OF APPEALS
      COLLEEN MARY O'TOOLE, J.,
                                                                        MAY 0 3 2006
      concur.
                                                                      TRUMBULL COUNTY OH
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                                     THE COURT OF APPEALS
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                                ELEVENTH APPELLATE DISTRICT
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                                    TRUMBULL COUNTY, OHIO


   STATE OF OHIO,                                             OPINION UPON
                                                            RECONSIDERATION
                  Plaintiff-Appellee,'
                                                            CASE NO. 2004-T-0089
         - vs -

  NATHANIEL JACKSON,

                  Defendant -Appelfant.


  Civil Appeal from the Court of Common Pleas, Case No. 2001 CR 794.

  Judgment: Affirmed.


  Dennis Watkins, Trumbull County Prosecutor, and LuWayne Annas, Assistant
 Prosecutor, Administration Building, Fourth Floor, 160 High Street, N.W., Warren, OH
 44481-1 092 (For Plaintiff-Appellee).

 David H. Bodiker, Ohio Public Defender, and Randall L. Porter, Assistant State Public
 Defender, 8 East Long Street, 11th Floor, Columbus, OH 43215-2998 (For Defendant-
 Appellant).




JUDITH A. CHRISTLEY, J., Ret., Eleventh Appellate District, sitting by assignment.

       f~l) The instant appeal emanates from a final judgment of the Trumbull County

Court of Common Pleas. Appellant, Nathaniel Jackson, seeks the reversal of the trial

court's decision to dismiss his original and amended petitions for postconviction relief

from his underlying criminal conviction. For the following reasons, this court holds that

appellant has failed to demonstrate any reversible error.

      f~2) In November 2002, following a jury trial of approximately four weeks,
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 appellant was found guilty of two counts of aggravated murder, one count of aggravated

 burglary, and one count of aggravated robbery. Under both of the aggravated murder

 counts, the jury also returned a guilty verdict on two death penalty specifications. In

 addition, under each of the aggravated burglary and aggravated robbery counts, he was

 found guily of a firearm specification.

        f~3) The foregoing charges against appellant were based upon the shooting
 death of Robert S. Fingerhut in December 2001. At the time of his death, Fingerhut was

 residing with his former wife, Donna Roberts, at a home in Howland Township, Ohio.

 During the months prior to the incident, Roberts had been exchanging letters with

 appellant while he was being held in a state prison on a prior criminal offense. As part

 of these letters, Roberts and appellant specifically discussed a plan under which

appellant would murder Fingerhut so that Roberts could collect the proceeds from

Fingerhut's insurance policies.

       fi,4) Appellant was released from prison on December 9, 2001. Just two days

later, the local police responded to a 9-1-1 call which Roberts had placed from the home

she shared with Fingerhut. Once the police had arrived at the scene, Roberts informed

them that when she had returned home that evening, she had found Fingerhut dead on

their kitchen floor with three bullet wounds to his body. Roberts also informed the police

that Fingerhut's car had been stolen from their garage.

       fi,S) During the ensuing investigation, Roberts gave the police her consent to

search the home she had shared with Fingerhut. As part of this search, the police

found some of the letters appellant had sent to Roberts from the state prison. At a

subsequent point of the investigation, the police not only found some of Roberts' letters

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 to appellant, but also learned that she had placed a number of telephone calls to him at

 the prison in the weeks immediately prior to his release. In addition, it was discovered

 that, on the evening of the murder, Roberts had rented a motel room in which the police

 later found blood and bandages.

        f~6j In reviewing the letters between Roberts and appellant, the police noticed

 that he had requested that she purchase a specific type of glove to use in committing

 the murder. When the police subsequently found appellant in a home in Youngstown,

 Ohio, he had in his possession a set of gloves which were similar to the gloves

 described in the letter. Besides having gun residue and blood on it, one of the gloves

 found on appellant had a hole on the index finger which was consistent with an injury

 appellant had. Moreover, when the police located Fingerhut's vehicle also in
Youngstown, they found bloodstains which matched the DNA profile of appellant.

       f~7j Following his arrest, appellant admitted to the police that he had shot

Fingerhut, but asserted that he had acted in self-defense. Under appellant's version of

the events, the tWQ men had met when appellant had asked Fingerhut for a job at his
business in Youngstown. After appellant had helped Fingerhut purchase certain illicit

drugs, Fingerhut drove the men back to Fingerhut's home. While at the home, the men

started to argue and Fingerhut allegedly drew a gun on appellant. Appellant claimed he

was eventually able to take the gun from Fingerhut, but the gun went off several times

and injured both of them. After the incident, appellant took Fingerhut's car to escape,

and then discarded both the gun and the car in Youngstown.

      f~8j At the subsequent trial, the state presented evidence which tended to
refute the version of events provided by appellant. For example, the state's evidence

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  indicated in part that no one had seen appellant at Fingerhut's place of business on the

  evening of the murder. There was evidence that Roberts and appellant had planned for

  appellant to already be inside the home before Fingerhut arrived from work. The state's

 evidence also tended to establish that Fingerhut had suffered certain defensive wounds,

 that one of the bullets fired at him had hit him in the back, and that the "fatal" bullet had

 been fired through the top of his skull from a short distance. In addition, the state
 demonstrated that Fingerhut's life was insured under two policies which would have

 paid death benefits to Roberts in the sum of $550,000.

        f~9) As was noted above, the jury accepted the state's evidence and found
 appellant guilty of the murder and the two underlying offenses. The state then

 dismissed one of the two aggravated murder charges, and a one-day mitigation hearing

 was conducted in November 2002. During this separate proceeding, appellant's trial

 counsel presented the testimony of one expert witness and five lay witnesses. This

evidence was intended to show that appellant had certain antisocial tendencies due to a

lack of a father figure during his childhood; that he had attention deficit disorder; and,

that he had been infatuated with Roberts. Notwithstanding this evidence, the jury found

that the aggravating circumstances of the case outweighed the mitigating facts, and

therefore recommended that the death penalty be imposed.

       f~10) After independently weighing the aggravating circumstances and the

mitigating facts, the trial court also held that the imposition of the death penalty was

appropriate in the instant case. In addition, the trial court imposed separate sentences

on the charges of aggravated burglary, aggravated robbery, and the merged firearm

specifications. In January 2003, appellant then filed a direct appeal from his conviction

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  and sentence to the Supreme Court of Ohio. Upon full consideration of the matter, the

  Supreme Court upheld appellant's basic conviction and the imposition of the death

 penalty. See State v. Jackson, 107 Ohio St.3d 300, 2006-0hio-1.

        f~ll¡ Approximately one year after taking his direct appeal, appellant fied his
 origi.nal petition for postconviction relief under R.C. 2953.21. Nearly ninety days later,

 appellant then submitted an amended petition for such relief. Under the new petition,

 he asserted fifteen separate claims for relief. Under the majority of these claims,

 appellant argued that he had been denied effective assistance of trial counsel during the

 penalty phase of his triaL. For example, he contended under one claim that the
 performance of his trial counsel had been deficient because they had not obtained the

 services of a specialist in mitigation. Four of appellant's remaining claims raised issues

of possible discrimination in the manner in which the grand jury proceedings and the

petit trial had been conducted. Finally, appellant also challenged the constitutionality of

Ohio's execution procedure and the statutory procedure for postconviction relief. In
support of his various claims, he submitted two volumes of exhibits.

       f~12¡ In responding to the two petitions, the state moved the trial court to
dismiss each of the claims without a hearing. on the basis that appellant had not made a

prima facie showing that his constitutional rights had been violated during his triaL. In

June 2004, the trial court rendered a thirty-three page judgment in which it dismissed

each of the claims raised by appellant. As to all of the claims in both petitions, the trial

court held that appellant had failed to establish substantive grounds to warrant any
postconviction relief. The trial court further held that many of the claims were barred

under res judicata because the issues either were, or could have been, raised in his

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   direct appeal from his conviction.

          (~13) In now appealing from the instant judgment, appellant has assigned the
  following as error:

          f~14) "(11 The trial court erred when it denied (appellantsJ postconviction petition
  without first affording him the opportunity to conduct discovery.

         f~lS) "(21 The trial court erred when it refused to grant (appellant1 funds to

  employ experts.

         f~161 "(3J The postconviction assistant prosecutor erred by not providing

  (appellantJ with the information contained in the prosecutor's files which was necessary
  to support the claims contained in the amended petition.

         f~17) "(4J The postconviction trial judge erred by not recusing himself.

         f~18) "(5J The trial court erred by applying the doctrine of res judicata to bar
 certain of (appellant's1 causes of action.

         f~19J "(6J The trial court erred in dismissing (appellantsJ amended

.' postconviction petition where he presented sufficient operative facts to merit relief or, at

 a minimum, an evidentiary hearing."

        f~201 As part of his postconviction petitions, appellant made several requests
 that he be allowed to conduct discovery before a final decision was made on the matter.

 In its final judgment on both petitions, the trial court overruled each of the requests.
 Under his first assignment, appellant contends that it was improper to consider the final

 merits of his petitions until he had had a full opportunity to conduct discovery on the

issues he had raised.

        (~2l) In interpreting R.C. 2953.21 et seq., the provisions which govern

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  postconviction relief in this state, the Supreme Court of Ohio has stated that there is no

  specific requirement that civil discovery must be afforded to the defendant in this type of

  proceeding. State ex reI. Love v. Cuyahoga Cty. Prosecutor's Offce (1999), 87 Ohio

  St.3d 158. As a result, the decision to grant discovery in a given situation lies within the

 sound discretion of the trial judge. State v. Davie, 11th Dist. No. 2000-T-0104, 2001-

 Ohio-8813. Furthermore, it has been expressly held that if the trial court concludes that

 the petitioner has failed to state substantive grounds to warrant an evidentiary hearing

 on a petition, that court does not abuse its discretion in overruling a request for

 discovery. State v. Samatar, 10th Dist. No. 03AP-1057, 2004-0hio-2641.

            f~r22) As will be discussed below, this court holds that the trial court in the
 instant case did not err in concluding that none of appellant's claims for relief were

 sufficient to state substantive grounds for reversing his conviction. Under such
 circumstances, it follows that the trial court did not abuse its discretion in denying any

civil discovery to appellant. Thus, the first assignment in this appeal       lacks merit.

            f'23) In conjunction with his requests for discovery, appellant also moved the
trial court for the appointment of unspecified experts to assist in preparing additional

materials in support of his two petitions. Similar to the analysis it employed regarding

the discovery matters, the trial court overruled this separate motion on the grounds that

no experts were needed because appellant had failed to satisfy his initial burden in

submitting his petitions. Under his second assignment, appellant asserts that the trial
court's analysis on this question was also flawed.

           f~24) Like the discovery issue, this court has already addressed the question of
the appointment of an expert in a postconviction proceeding. In State v. Wiliams (Oct.

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  16, 1998), 11th Dist. No. 97-T-0153, 1998 Ohio App. LEXIS 4884, we began our
  discussion by stating that the right to an expert was tied to the constitutional right to

  counseL. The Williams court further noted that, under the relevant Ohio Supreme Court

 precedent, a criminal defendant's constitutional right to counsel did not extend to a

 proceeding under R.C. 2953.21 because a postconviction proceeding was civil' in

 nature. Based upon this precedent, the Willams court ultimately held that the same

 logic would apply to experts; Le., since a proceeding under R.C. 2953.21 is considered

 civil, there is no constitutional right to expert assistance.

         (~2S) In applying the Williams logic in subsequent cases, this court has also
 held that if a postconviction petitioner does not initially demonstrate substantial grounds

to support an evidentiary hearing on a petition, he is not entitled to the appointment of

any   experts. State v. Getsy (Oct. 22, 1999), 11th Dist. No. 98-T-0140, 1999 Ohio App.

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         f~26) In essentially arg.uing that the foregoing analysis is flawed, appellant

states that the Williams opinion did not acknowledge the fact that R.C. 2953.21 contains

a specific provision regarding the appointment of counseL. That is, subsection (I) of the

statute provides that an indig.ent defendant who has been given the death penalty has a

statutory right to have counsel appointed for the purpose of filing a petition for
postconviction relief in his behalf. In light of this, appellant asserts that the basic


underlying premise for the Wiliams analysis as to the appointment of experts was

simply incorrect.

        f~27) However, in adopting the same general logic which we followed in
Williams and Getsy, other courts have concluded that the existence of a statutory right

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 to counsel is not the same as a constitutional right to counsel; hence, these courts have

 held that the provisions of R.C. 2953.21 (I) has no effect upon the validity of their logic

 as to whether there is a constitutional right to an appointed expert. For example, in

 State v. Monroe, 10th Dist. No. 04AP-658, 2005-0hio-5242, the court first noted that,

 although R.C. 2953.21 (I) provided for the appointment of counsel in a postconviction


 proceeding, it did not have any provision for the appointment of experts. Upon then
 referring again to the Ohio Supreme Court precedent as to the lack of a constitutional

 right to counsel, the Monroe court stated that it would not recognize a constitutional right

 to an appointed expert based entirely upon a statutory right to counsel: "There is no

 authority holding that a corresponding constitutional right would exist to provide

appointment of an expert *** predicated upon the specific statutory entitlement to
counsel in a proceeding in which a constitutional right to counsel would not attach."

Monroe, at il15. Pursuant to this analysis, appellant has failed to establish any flaw in

our Willams holding.

       r'28) This court has recently recognized an exception to the Williams logic when

the petitioner has asserted a question as to whether he is mentally retarded. See State

v. Lorraine, 11th Dist. No. 2003-T-0159, 2005-0hio-2529. However, although this court

held that an expert should be appointed for purposes of the "mental retardation" issue

prior to any determination on the final merits of the petition, there was no indication in

Lorraine that the court intended to invalidate the general holding of Wíliams.

       f~29) In contesting the trial court's denial of his request for experts in the instant
case, appellant has not specifically raised the "mental retardation" issue in the context



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  of this assignment.1 Furthermore, this court would reiterate that, except for his request

  for a psychologist, appellant's expert requests before the trial court were framed in
  general terms. Accordingly, because we conclude that appellant's petitions failed to

  state any substantial grounds warranting an evidentiary hearing, the trial court did not

  err in this instance in denying the motion for the appointment of experts. Under this

  analysis, the second assignment does not have merit.

         r~30) Appellant's next assignment also challenges the procedure which was
 followed by the trial court prior to the granting of the motion to dismiss., As part of his

 original and amended petitions, appellant asked that the state be required to give him

 access to two documents which were allegedly contained in the prosecutor's file.

 Appellant stated that the documents would assist him in supporting two of his claims for

 relief. Under his third assignment, he essentially contends that the trial court erred in

 not compelling the state to release the documents in question.

         f~31) As to this point, this court would first note that the Supreme Court of Ohio
 has held that the prosecution's duty to provide discovery under Crim.R. 16 does not

extend beyond the conclusion of the criminal triaL. Love, supra. Furthermore, it has
been held that a criminal defendant cannot employ R.C. 149.43 to gain access to the

prosecutor's file when discovery under Crim.R. 16 is not permissible. State v. Twyford,

7th Dist. No. 98-JE-56, 2001-0hio-3241. Accordingly, because appellant was not
entitled to access the state's documents as part of the postconviction proceedings, the

state could not be compelled to release any documents in this instance. For this

reason, appellant's third assignment of error is not well-taken.


1. Although appellant has raised certain questions pertaining to his intelligence level under his sixth
assig.nment, no such issues have been asserted in his second assignment of error.         Jackson Apx. Vol. 17
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               fi,32) In his fourth assignment, appellant submits that certain aspects of the trial
  court's judgment on his postconviction petitions should be reversed because the court

  erred in considering improper information. Specifically, appellant asserts that the trial

  court incorrectly relied upon its own personal knowledge of certain "facts" in disposing of

  some of his claims for relief. Based on this, he argues that the trial judge should have

  recused himself so that the issues in question could be reviewed by an unbiased judge.

              f~33) In raising the foregoing issue, appellant refers to two general instances in
 which the trial judge cited his personal knowledge in explaining his reasoning for
 rejecting a claim. The first instance occurred when the trial judge was reviewing

 appellant's contention that, at the outset of the                            guilt phase of the underlying trial, he had

 given the trial judge a letter in which he stated that he was not satisfied with the

 performance of his trial counseL. In ruling upon this contention, the
                                                                                                   trial judge first stated

in his final judgment that he could not recall receiving this letter. Even so, the trial judge

concluded that appellant had not shown that he had been unable                                    to communicate with

his counsel, since the trial judge could recall specific instances during the trial in which

he had observed appellant conversing with his counseL.

            r~34) As to this point, this court would indicate that the information to which the

trial judge referred in his judgment was predicated on observations he had made during

the course of appellant's triaL. In considering the effect of a trial judge's knowledge of

prior proceedings in a case, the courts of this state have held that such knowledge does

not warrant the judge's recusal from further proceedings in the same matter:

           fi,35) "A judge need not recuse himself on the basis that he acquired knowledge
of the facts during a prior proceeding. State v. D'Ambrosio (1993), 67 Ohio St.3d 185,

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   188 ***. What a judge learns in his judicial capacity, whether from pretrial proceedings,

   co-defendant pleas, or evidence presented in a prior case, is properly considered as

  judicial observations and creates no bias requiring recusal. Id. In this case, the mere

  fact that the same trial judge presided over separate proceedings involving both

  appellant and a co-defendant does not require the judge to disqualify himself." In re:

  Daniel E. (1997), 122 Ohio App.3d 139,140-141.

           f~36j Of course, the issue of whether a judge should recuse himself is separate
 from the question of the extent to which he can rely upon his prior knowledge in making

 a judicial determination. If the prior knowledge stems from a distinct légal proceeding,

 the   judge cannot rely upon it at alL. This court has consistently held that a trial judge

cannot take judicial notice of events in other legal cases, even if the prior cases involved

the same parties. See Frinkley v. Meeker, 11th Dist No. 2004-P-0022, 2004-0hio-6696;

State v. Raymundo (Aug. 18, 1995), 11th Dist. No. 94-T-5025, 1995 Ohio App. LEXIS

3395. However, the foregoing basic rule does not apply to -prior events within the same

action; i.e" a trial judge can take judicial notice of prior matters before him in the same

case. In re: Veverka (Sept. 30, 1999), 11th Dist. No. 98-A-0053, 1999 Ohio App. LEXIS

4654.

          f~37j In the instant case, the trial judge indicated in the appealed judgment that,
during trial, he had observed appellant interacting with his trial attorneys. The trial judge

further stated in the judgment that the transcript of the trial contained specific references

to communications between appellant and his counseL. By citing to the transcript in

support of his observations, the trial judge was implicitly taking judicial notice of a

proceeding before him in the same case. Under the foregoing precedent, the trial

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  judge's reliance upon the trial transcript was permissible under the Ohio Rules of
   Evidence.

              f~38) If the trial judge's reference to his observations had not been supported by
  citations to the trial transcript, the outcome of our analysis on this point may have been

 different. Unless a judge's observations are either stated upon the record or verified by

 the record, a party simply has no means of challenging the veracity of those
 observations. Therefore, as to facts which are not of record, the better procedure may

 have been to have held a hearing to allow appellant to object to any such "off record"

 judicial notice. In the absence of such a hearing, it can be argued that a party may be
 denied       due process unless he is   allowed to question the judge as to the accuracy of the

 observations. But d., State v. Morrow (Aug. 8, 1987), 2d Dist. Nos. CA 9420 and CA

 9447, 1987 Ohio App. LEXIS 8195, in which it was held that the trial court had not

abused its discretion in predicating the denial of a claim of ineffective assistance upon

its general observation of counsel at triaL.

             f~39) Nevertheless, because the trial judgE: in this particular instance also
referred to the trial record in support of his factual finding, it is unnecessary to resolve

the foregoing point for purposes of this analysis. As an additional point, we would

further note that appellant has not challenged the accuracy of the references to the
record, or the accuracy of the record itself.

            f~40) In regard to the "letter" issue, appellant further asserts that he was entitled
to question the trial judge as to the statement in the appealed judgment that he, the
judge, had no independent recollection of seeing the letter. As to this point, this court

would simply note that the trial judge did not deny appellant's claim of ineffective

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  assistance on the grounds that the letter did not exist and that it had been fabricated by

  appellant. Instead, the trial court assumed in its analysis that the letter was authentic

  and addressed the merits of appellant's underlying claim for relîef. To this extent,

 appellant's inability to challenge the trial judge's lack of recall had no effect on the

 ultimate resolution of that particular claim.

             f~41) As an aside, this court would also emphasize that a copy of the disputed
 letter was submitted in support of appellant's postconviction claim that he had been

 denied effective assistance of trial counseL. In rejecting this claim, the trial court did not

 base its decision solely on the fact that appellant had           communicated with his two

attorneys during the triaL. . As a separate grounds for the decision, the trial court also

concluded that the assertions in the letter were insufficient to establîsh that there had

been a total "breakdown" of the attorney-client relationship between appellant and
counsel. Upon reviewing the disputed letter and the relevant case law, we can find no

error in the trial court's separate holding.

            f~42) Reviewing the assertions of the latter itself, it was essentially a request for
the substitution of counseL. As the primary basis for this request, appellant stated that

his present counsel was not representing him in the manner he would prefer.

Specifically, appellant stated that, even though he had repeatedly asked one of his

attorneys to let him listen to certain tape recordings, the attorney had refused to bring

the tapes to his jail celL. In addition, appellant asserted in the letter that he had a verbal

argument with one of the attorneys after he had questioned whether the attorney had

been devoting enough time to his case.

           f~43) As a general proposition, an indigent criminal defendant does not have a
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 constitutional right to choose the attorney who will represent him at the expense of the

 state; rather, he is only entitled to competent legal representation. State v. Horn, 6th

 Dist No. OT-03-016, 2005-0hio-5257, at Ij11. As a result, the request of a defendant to

 discharge his court-appointed counsel wil be granted only if he can "show a breakdown

 in the attorney-client relationship of such a magnitude as to jeopardize the defendant's

 right to effective assistance of counseL." State v. Coleman (1988), 37 Ohio St.3d 286,

 paragraph four of the syllabus. See, also, State v. Henness (1997), 79 Ohio St.3d 53,

 65.

       f~44J In applying the foregoing basic standard, the courts of this state have

 recognized three examples of good cause which would warrant the discharge of court-

 appointed counsel: (1) a conflict of interest; (2) a complete breakdown of
communication; and (3) an irreconcilable conflict which could cause an apparent unjust

result. Horn, 2005-0hio-5257, at Ij11, quoting State v. Blankenship (1995), 102 Ohio

App.3d 534, 558. In light of the nature of the three examples, it has been further held

that the substitution of counsel should Qe allowed only if extreme circumstances exist.

State v. Glasure (1999), 132 Ohio App.3d 227, 239.

       f~4S) In regard to a possible breakdown of the attorney-client relationship due to

a lack of communication, the Supreme Court of Ohio has expressly said that the Sixth

Amendment right to counsel was not intended to guarantee that a criminal defendant

will have a "rapport" with his attorney. Henness, 79 Ohio St.3d at 65, citing Morris v.

Slappy (1983), 461 U.S. 1. Accordingly, the existence of hostility or a personal conflict

between the attorney and the defendant does not constitute a total breakdown so long

as it does not inhibit the attorney from both preparing and presenting a competent

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 defense. State v. Meridy, 12th Dist. No. CA2003-11-091, 2005-0hio-241; State v.

 Mayes, 4th Dist. No. 03CA9, 2004-0hio-2027. Moreover, the lack of communication

 must be permanent in nature before a finding of a complete breakdown can be made.

 State v. Evans, 153 Ohio App.3d 226, 2003-0hio-3475, at 1I32. Finally, a dispute over

 the trial tactics or strategy of the attorney is not sufficient to establish the requisite
 breakdown. Id.

             (~46) In the instant case,' our review of the alleged letter indicates that appellant
 did not state in his letter why he thought the unspecified tape recordings were relevant

 to his case; thus, the reference in the letter to the attorney's failure to provide the tapes

 only showed. a possible disagreement as to the manner in which the tapes could be

 used at triaL. Moreover, although the letter does state that appellant had an argument

with one of his attorneys, it does      not allege that, due to the argument, there was a total

breakdown of communication with that attorney during the triaL.

            fi,47) Therefore, as the trial court correctly noted in the appealed judgment, the
assertions in appellant's letter only established that he was not entirely satisfied with the

nature of the representation he was receiving from his court-appointed counseL. This

dissatisfaction was not sufficient to show a complete breakdown of the attorney-client

relationship which would have warranted the granting of appellant's request for
substitution of counseL. Based upon this, this court holds that, even if the trial court did

err in referring to its own personal observations of the relationship between appellant

and his two attorneys, its determination on the "ineffective assistance" claim could have

been predicated solely upon the trial court's holding that appellant's letter did not raise

any substantive issue on that point.

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            f~(48) As was noted above, appellant has asserted under this assignment that

  there was a second basic instance in which the trial court improperly relied upon its own

  personal observations. The second instance cited by appellant pertains to the trial

  court's disposition of his "racial discrimination" claims. For example, in ruling upon the

  claim that discrimination oCcurred in regard to the appointment of the foreperson for the

 grand jury proceedings, the trial court specifically referred to his knowledge of the
 procedure used by the Trumbull County Court of Common Pleas in appointing the

 fore   person .

           f~r49) In regard to this specific point, this court would agree that the trial judge's

 reliance upon his own personal knowledge was improper in this instance. First, we

would note that any proceeding before the grand jury would be distinct from the petit

trial for appellant, and the trial judge is not permitted to take judicial notice of any action

separate from the proceeding before him. Second, we would indicate that the trial

judge's own knowledge of Trumbull County Grand Jury proceedings in general could

not encompass all possibla information on that topic. Under such circumstances, the
trial judge's knowledge could not be dispositive because there may be instances
beyond his knowledge in which discrimination did occur.

          f~SO) Nevertheless, this court would further note that the trial court's dismissal of

the "racial discrimination" claims was based upon either that: (1) the claims were barred

by res judicata; or (2) appellant's evidentiary materials were insufficient to raise a prima

facie showing of discrimination. As will be discussed under the fifth and sixth
assignments of this appeal, we conclude that this aspect of the trial court's decision

must be upheld. Therefore, the trial court's reliance on his personal knowledge was

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  harmless as to these particular claims,

              (~51) Finally, as a separate part of this assignment, appellant contends that, in
 ruling upon some of his claims for relief, the trial judge improperly relied on his own

 personal opinion. For example, in dismissing one of the claims in which it was alleged

 that appellant had béen denied effective assistance of counsel, the trial judge stated in

 his final judgment that the presentation of the testimony of appellant's family members

 during the mitigation phase should not have required "exhaustive preparation" on the

 part of trial counseL. . Appellant now asserts that the judge's statement constituted an

 "opinion" which should have beên subject to cross-examination by his postconviction

 counseL.

            f~r52J When viewed in the context of the appealed judgment, it is apparent that

the statements in question were only intended to set forth the trial judge's legal analysis

concerning whether the actions of counsel could be deemed ineffective as a matter of

law. To this extent,       the trial judge's statements merely constituted his conclusions of

law on the various points. Although such conclusions can be challenged on appeal and

must be reviewed under a de novo standard, they are not in any respect evidential

submissions to which the right to cross-examination would apply.

           f~S3) Pursuant to the foregoing analysis, this court holds that appellant has
failed to show that he was prejudiced by the trial judge's references to his personal
knowledge. Accordingly, the fourth assignment in this appeal is also without merit.

           f'54) In the fifth assignment of error, appellant submits that the trial court erred
by applying the doctrine of res judicata to bar certain causes of action that he raised in

his postconviction relief petition. After reviewing this "res judicata" aspect of the trial

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 court's decision, this court concludes that portions of this analysis were flawed.

 However, in every instance in which res judicata was incorrectly applied, the trial court

 correctly found that appellant had failed to set forth substantial grounds in support of the

 respective claims for relief.

        f~55) It is well-established that the doctrine of res judicata is applicable to

 postconviction relief proceedings. In State v. Perry (1967), 10 Ohio St.2d 175, the

 Supreme Court of Ohio held:

        f~S6J "Under the doctrine of res judicata, a final judgment of conviction bars the

 convicted defendant from raising and litigating in any proceeding, except on appeal from

that judgment, any defense or claimed lack of due process that was raised or could

have been raised by the defendant at the trial which resulted in the judgment of

conviction or on appeal from that judgment." Id. at 180.

       f~57) Additionally, in State v. Cafe (1982),2 Ohio St.3d 112, the Supreme Court
of Ohio specifically indicated that res judicata is a proper basÎs to dismiss a
postconviction relief petition where the issue sought to be presented could have been

raised at trial or in a direct appeal, and where "such issue could fairly have been
determined without resort to evidence dehors the record." Id. at paragraph one of the

syllabus.

       f~S8J In State v. Jones (Dec. 29, 2000), 1st Dist. No. C-990813, 2000 Ohio App.

LEXIS 6197, the court held "(tJO overcome the res judicata bar, a petitioner must provide

cogent evidence outside the record. This means that the evidence supporting a claim

must be competent, relevant and material, must be more than marginally significant,

and must 'advance the claim "beyond mere hypothesis and a desire for further

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 discovery.'" *** It 'must be more than evidence which was in existence and avaílable to

 the defendant at the time of trial and which could and should have been submitted at
 trial if the defendant wished to make use of it.'" ld. at 4-5, quoting State v. Fears (Nov.

 12, 1999), 1st Dist. No. C-990050, 1999 Ohio App. LEXIS 5365, and State v. Coleman

 (Mar. 17, 1993), 1 st Dist. No. C-900811, 1993 Ohio App. LEXIS 1485.

        f~S9) Eight of appellant's claims were dismissed by the trial court based, in part,

 upon res judicata. They will be individually addressed in the order they have been
 raised in appellant's brief.

        f~60) In the first claim under the fifth assignment of error, appellant made the
argument that the state of Ohio has an infirm postconviction relief system. It is clear,

however, that Ohio's postconviction relief system has been in place prior to appellant's

trial and, therefore, could have theoretically been raised in a direct appeaL. Thus, the

trial court properly denied the claim based upon res judicata.

        f~61J Moreover, this court has previously held that the proper forum to raise
such a .challenge to the postconviction relief system in Ohio would be in a habeas
corpus action. State v. Wiles (1998),126 Ohio App.3d 71,83.

       f~62) The second claim made by appellant is that the Trumbull County
Prosecutor seeks the death penalty in a racially discriminatory manner.

       f~63) We must agree with appellant that it would be extremely difficult, if not
impossible, to raise this issue at triaL. Instead, it is most appropriate to raise this issue

in postconviction relief proceedings, when evidence to support such a claim would be

outside the record. However, now that appellant has the opportunity to do so, he has



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 failed to present any specific evidence of discriminatory intent against him. Thus, he

 has failed to support this claim beyond mere speculation.

          (~64) Appellant does argue that his trial counsel was ineffective by not raising
 this issue at trial, but that is a separate argument which will be addressed later.

        f~65) The third claim made by appellant is that the Trumbull County Grand Jury

 that indicted him contained an underrepresentation of African-Americans.

        f~66) First, appellant made no effort to challenge the indictment prior to triaL.

 Second, as pointed out by the trial court, appellant failed to present any evidence

 whatsoever as to the racial composition of the grand jury that indicted him. Additionally,

 even if appellant could establish that the grand jury that indicted him was

 proportionately underrepresented as to African-Americans, he would have to establish

that "an intentional and systematic exclusion of blacks had occurred." State v. Hill (June

22, 1990), 4th Dist. No. 1619, 1990 Ohio App. LEXIS 2509, at 5. Appellant presented

no evidence of an intentional exclusion of African-Americans from the grand jury that

indicted him. Accordingly, the trial court properly rejected this claim.

       f~67) In the fourth claim made by appellant, he asserts that the Trumbull County

Court of Common Pleas selected a grand jury foreperson in a racially discriminatory

manner.

       f~í68) Evidence as to the manner by which the grand jury foreperson was

chosen could have been sought prior to appellant's actual triaL. Moreover, in State v.

Hughbanks, 1 st Dist. No. C-010372, 2003-0hio-187, the court held that "riJf a grand-jury

foreperson is selected from within the ranks of a properly constituted grand jury, and the

foreperson's role is essentially ministerial, purposeful discrimination in the selection of a

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  grand-jury foreperson will not provide a basis for reversing a conviction." Id. at iT35. We

  agree with that reasoning.

              f~69l The fifth claim made by appellant is that the petit jury venire was selected
  in a racially discriminatory manner.

              f~70) At the outset of our analysis, this court would note that, during the jury
  selection process, appellant's trial counsel stated on the record that there was an

  absence of African-Americans on the jury. That fact was then acknowledged by the trial

 court. Realistically, the simple unexplained absence of African-Americans from the jury

 venire' would be insufficient support for a successful appeaL. As a result, additional

 evidence would have been needed in order to establish discrimination in the selection of

 the petit jury venire.

             f~71) In attempting to provide such additional evidence as part of his petition for

 postconviction reli.ef, appellant presented six new exhibits. The first exhibit was a

summary of certain census data concerning the demographics of Trumbull County in

the year 2000. This exhibit indicated that African-Americans composed approximately

eight percent of the population of Trumbull County at that time. The next three exhibits

consisted of copies of newspaper articles from February 1992. Each of these articles

stated that the jury pool for a prior death-penalty case in Trumbull County had not

contained any African-Americans. The fifth exhibit was a copy of an affidavit which an

expert witness had submitted as part of a federal habeas corpus action regarding the

validity of that 1992 Trumbull County death-penalty case. In that affidavit, the expert

had concluded that the underrepresentation of African-Americans in the          jury pool could


not have been the result of a random occurrence. Finally, the sixth exhibit was the

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  affidavit of an attorney who had attended the separate trial of Donna Roberts. In this

 document, the attorney merely stated that the twelve-person jury in the Roberts case
 had been composed solely of Caucasians.

             (~72) Our review of the foregoing documents shows that the information in five

 of the six exhibits had already been in existence at the time of appellant's trial in'

 November 2002; accordingly, these exhibits could have been presented to the trial court

 as part of a properly-raised argument during the triaL. In considering postconviction


 claims of discrimination in the selection of the petit jury venire, the First Appellate

 District has held that such claims are barred under the doctrine of res judicata when

they are predicated upon evidence which                               already existed at the time of the triaL. State

v. Leonard, 157 Ohio App.3d 653, 2004-0hio-3323. The underlying logic of this holding

is that a defendant cannot use a postconviction proceeding to retry his case with

evidence which could have been submitted during the actual triaL. See State v.

Coleman         (Mar.      17, 1993),     1st   Dist. No. C-900811,           1993   Ohio   App. LEXIS 1485.

             f~73) In the instant case, the sole exhibit which was created after the end of.

appellant's trial was the affidavit of the attorney who had attended the trial of Donna

Roberts. In that affidavit, the attorney stated only that the twelve-person jury in the

Roberts case had not contained any African-Americans; the affidavit did not address the

issue of the composition of the entire petit jury venire. Thus, the attorney's affidavit did

not set forth any substantive evidence concerning the "petit jury venire" question. In

light of these circumstances, this court holds that the trial court did not err in applying

res judicata to the "petit jury venire" claim because appellant's substantive evidence



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 consisted of five exhibits which could have been presented to the trial court during the

 trial itself.



          f'i74) The sixth claim presented by appellant is that he did not receive effective
 assistance of counsel during the trial phase. Although appellant asserted a number of

 arguments before the trial court in support of his basic contention that he had been
 denied effective assistance, his "res judicata" assertion focuses upon that aspect of his

 argument in which he alleged that his trial counsel had failed to pursue the question of

 the specific role Donna Roberts had played in the murder. Specifically, he asserts that

 the trial court erred in applying the doctrine of res judicata to this particular point

 because, as part of his postconviction petition, he presented thirteen new exhibits which

 were never submitted at triaL.

         f~75) To the extent that the new exhibits would not have been included in the

record in his appeal to the Supreme Court of Ohio, this court would agree that the fact

that appellant had raised an "ineffective assistance" assignment before the Supreme

Court did not bar a separate argument on this point in his postconviction petition. Even

if trial counsel had been aware of these exhibits and simply chose not to submit them, it

still would be impossible for the Supreme Court to make a proper decision on the merits

of appellant's contention because it would not have the opportunity to review the

exhibits. Under these circumstances, the exhibits in question had to be considered

"new" evidence.


        f~76) As a result, since the only proper means for appellant to present the
exhibits would be through a postconviction petition, the trial court did err in applying res

judicata in this particular instance. However, as will be discussed under the sixth
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 assignment of this appeal, the trial court did not err in also concluding that the exhibits

 in question were insufficient to demonstrate any ineffective assistance on the part of trial

 counseL.

           f~77) The seventh claim made by appellant is that he did not receive effective

 assistance of counsel during the mitigation phase.

           f~78J Appellant correctly points out that a claim of ineffective assistance of
 counsel in the mitigation phase that is dependant upon the affidavits of individuals who

 would have provided additional testimony is not subject to the bar of res judicata. State

 v. Keith, 79 Ohio St.3d 514, 536, 1997-0hio-367; State v. Scott (1989),63 Ohio App.3d

304, 308. Clearly, that evidence was not available until after the mitigation portion of

the trial.

          f~79) However, from a review of the judgment entry, it is apparent that the trial

court rejected this claim on its merits in addition to relying on res judicata. With respect

to the affidavits of appellant's friends and family who did not get to testify during the

mitigation phase, the trial court stated that "(nJothing in these affidavits .offer(sJ (sic)

mitigating factors at all, let alone enough to outweigh the aggravating circumstances."

          f~80) Similarly, none of the other exhibits presented by appellant were found to
be germane to the mitigation phase. Accordingly, it is clear that the trial court did not

rely solely on res judicata but, instead, decided this claim was not well-taken on the

merits.

          f~81) The eighth claim advanced by appellant is that the state of Ohio's use of

lethal injection is constitutionally infirm.



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              f~82) In support, he presented the affidavit of Dr. Mary J. S. Heath. However,
 the substance of this affidavit does not change the clear holding of the Supreme Court

 of Ohio that Ohio's use of lethal injection is constitutionaL. State v. Carter, 89 Ohio St.3d

 593,608,2000-0hio-172.

             f~83) Based upon the foregoing analysis, we hold that, éven when the trial
 court's analysis concerning the application of res judicata was flawed, the error was not

 prejudicial to appellant. Thus, his fifth assignment of error is without merit.

             f~84) In the sixth assignment of error, appellant contends that the trial court
erred in dismissing his postconviction relief petition without a hearing.

            f~8S) It is well"established that a petitioner is not automatically entitled to a
hearing. Before a hearing will be granted, a petitioner must establish that there are
substantive grounds for relief. R.C. 2953.21 (C); State v. Calhoun, 86 Ohio St.3d 279,

282-283, 1999-0hio-102.


            f~86) In the present case, appellant asserts that his causes of action were

supported by sufficient operative facts to establish substantive          grounds for relief.

Appellant set forth fifteen causes of action and they will be addressed in seriatim.

            f~87) In the first claim in this assignment raised by appellant, he contends that
the Trumbull County Prosecutor has made decisions regarding who should be charged

with the death penalty in a racially discriminatory manner.

           f~88) However, appellant failed to provide any evidence whatsoever that the
charges against him were racially motivated. Appellant claims that his Caucasian co-

defendant was offered a better plea bargain, but he fails to provide any support for this



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 claim, beyond the bare assertion itself. Further, he fails to note that his co-defendant

 did not commit the actual killing; thus, their circumstances were arguably different.

           f~(89) Due to a lack of supporting evidence for his assertion, the trial court
 properly denied this claim.

           f~90J In the second cause of action, appellant submifs that the grand jury that

 indicted him was drawn from a venire that lacked sufficient representation of African-

 Americans.

         (~91) Yet, appellant failed to provide the trial court with any evidence of the
 racial composition of the actual grand jury that indicted him, or the venire from which the

grand jury was selected. In short, while appellant filed numerous exhibits with his

postconviction relief petition, none of them concerned, either directly or indirectly, the

grand jurycomposition in the present case.

        f~92) Moreover, as the trial court noted, the Supreme Court of Ohio has held
that "not every grand jury has to represent a 'fair cross section;' so long as the selection

process is nondiscriminatory." State v. Willams (1997), 79 Ohio St.3d 1, 17. More

recently, the Supreme Court of Ohio ruled that the use of voter registration roles as a

source for grand jurors does not intentionally exclude any specific racial group, and is

an acceptable method of selecting jury venires. State v. Nields (2001), 93 Ohio St.3d 6,

19.

        fi,93) In the third cause of action, appellant contends that it is the good faith
belief of his counsel that the Trumbull County Court of Common Pleas has employed a

system to choose grand jury forepersons that can lead to discrimination in the selection

process.

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        f~941 While the state does not dispute the fact that the foreperson in this case

 was a Causacian woman, appellant provided no evidence that this woman was

 handpicked by a Trumbull County judge, that she was chosen because she was

 Causasian, or that she was responsible for indicting appellant because of his race.

 Moreover, with all due respect to appellant's trial cou'nsel, personal belief is a far cry

 from personal knowledge. No operative facts were set forth which laid a foundation to

 support or put this belief beyond mere speculation. Furthermore, there is no indication

 that the foreperson was chosen from outside the system that was used to comprise the

 balance of the grand jury. Therefore, appellant cannot prevail on this claim.

 Hughbanks, supra, at ~35.

       f~9S) Thus, the trial court properly found that appellant's contention "is far too
tangential to be substantive."

       f~r96) In the fourth cause of action, appellant contends that the prosecutors at
trial failed to provide him with exculpatory evidence. Specifically, appellant alleges that

certain undisclosed law enforcement agents suppressed a police report that the

decedent had made plans to fake his own death. Somehow, appellant believes that

such a report would have been favorable to his case.

       f~97) The trial court found that, if this report actually existed, it would not have
been exculpatory because appellant admitted to shooting a man in Robert Fingerhut's

home whom he, himself, identified as Fingerhut. The overwhelming evidence was that

the victim was Robert Fingerhut and that it was appellant who shot him.

      r~98) The trial court also found that appellant supplied no credible evidence to
support his claim that a police report stating that Fingerhut planned to fake his own

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  death ever existed. On this point, appellant supplied the trial court with an unsigned,

  handwritten letter wherein the unknown author stated that "RSF" had an "obsession
  about faking his own death." There was also an affidavit from his counsel of record in

  this case stating that trial counsel for co-defendant, Roberts, also told him about this

  alleged police report. However, there was nó affidavit from Roberts' trial counseL.

 Again, we note that appellant admitted to shooting Fingerhut, albeit in self-defense.
 Thus, the exculpatory value of any such report is non-existent. There may be a dispute

 of fact about its existence, but it is not a material or relevant dispute of fact as is
 required.

             f~99) The trial court did not err by dismissing this cause of action.

             f~100) In the fifth cause of action, appellant maintains that the trial court failed to

 hold a hearing concerning his request to discharge his trial counseL. His allegation is

that he sent a letter to the trial court judge prior to trial in which                    he complained that one
of his trial attorneys was not paying enough attention to him.

            fi,iOl) Assuming that he sent such a letter, there is no allegation that appellant

could not communicate with this attorney or that communication had irretrievably broken

down. He made no claim that he was somehow denied his constitutional right to

counsel in this case. In short, there was no claim of prejudice. It is almost axiomatic


that every defendant feels his or her attorney is not paying enough personal attention to

the case. That is not per se indicative that the attorney is professionally deficient.

Additionally, it is well-established that a petitioner's own self-serving statement does not

compel a hearing. State v. Kapper
                                                              (1983), 5 Ohio St.3d 36, 37-38. Thus, without more,

the trial court properly denied this cause of action.

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              f~102) In the sixth cause of action, appellant asserts that trial counsel failed to

  retain a competent mitigation specialist and, as a result, the mitigation investigation was

  incomplete.

              f~103J From the record, it is clear that Dr. Sandra McPherson was hired as
 appellant's expert witness. It is also clear that Dr. McPherson has filled a similar role in

 at least five prior capital murder cases. Thus, appellant's claim that Dr. McPherson was

 less than competent was an unsupported allegation. As an expert psychological

 witness, Dr. McPherson testified very capably. There is nothing to indicate she was

 intended to be the mitigation specialist. Furthermore,
                                                               appellant's evidentiary materials

 were not sufficient to demonstrate that an actual mitigation expert would have made a

 difference under the facts of this case. Accordingly, appellant failed to present

substantive grounds for relief as to this claim.

            f~104) Under the seventh cause of action, appellant argues that the petit jury that

convicted him was drawn from a venire which did not contain a sufficient number of

African-Americans. In essence, he submits that the evidentiary materials which he filed

with his postconviction petition were sufficient to raise a prima facie case that the

exclusion of African-Americans from the jury pool was due to some form of systematic

discrimination. In support of this point, appellant relies primarily upon an affidavit of a

"jury" expert which was originally filed in a federal habeas corpus action involving a

different individual who, in 1992, had been convicted of capital murder in Trumbull

County.

          f~105) As an initial matter, this court would again indicate that this specific cause

of action was barred under the doctrine of res judicata. As was noted in our analysis

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 under the fifth assignment, the doctrine was applicable to this claim because it was
 based upon exhibits which had been in existence at the time of his triaL. Nevertheless,

 consistent with the approach taken by the trial court, we will also address the merits of

 this particular claim.


             f~106) As part of the basic Sixth Amendment right to 'a jury trial, a criminal
 defendant is entitled to a petit jury which is composed of a representative cross-section

 of the local community. State v. Dickerson, 9th Dist. No. 22536, 2005- Ohio-5499, at

 117. In order to establish a prima facie violation of this constitutional requirement, the

 defendant must show: "(1) that the group alleged to be excluded is a 'distinctive' group

 in the community; (2) that the representation of this group in venires from which juries

 are selected is not fair and reasonable in relation to the number of such persons in the

community; and (3) that the representation is due to systematic        exclusion of the group

in the jury-selection process." State v. Fulton (1991),57 Ohio St.3d 120, paragraph two

of the syllabus. In applying the foregoing test, this court has emphasized that all three
prongs of the test must be satisfied before a prima facie showingwill be found. State v.

McCaleb, 11th Dist. No. 2002-L-157, 2004-0hio-5940, at 1123.

           f~107) In the instant case, our review of the evidentiary materials indicates that

the six exhibits submitted in regard to this claim were sufficient to establish the first two

prongs of the Fulton test. As to the first prong, this court would note that the Supreme

Court of Ohio has expressly stated that African-Americans are considered a "distinctive"

group for purposes of this analysis. See State v. Jackson, 107 Ohio St.3d 53, 2005-

Ohio-5981, at 1166. In relation to the second prong, appellant's exhibits demonstrated

that African-Americans constituted approximately eight percent of the population of


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  Trumbull County under the census data of the year 2000; as a result, since only two or

  three African-Americans were called as part of the total jury venire of one hundred forty-

 two persons in appellant's trial, that group was not reasonably represented in the venire.

 Accordingly, the key point in this analysis is whether appellant's evidentiary materials

 made a prima facie showing that the underrepresentation of African-Americans was due

 to systematic discrimination.

         f~108) In attempting to satisfy the third prong of the Fulton test, appellant relied

 primarily upon a copy of the affidavit of Diane Wiley, who is the president of the National

 Jury Project Midwest. The substance of Wiley's affidavit did not pertain to the

 composition of the jury venire in appellant's case; instead,it related to a separate capital

 murder case. Specifically, in 2000, Wiley had been retained by the Ohio Public

 Defender Office to evaluate whether the special jury venire drawn in State v. Davie,

Trumbull C.P. No. 91-CR-288, had been representative of the population of African-

Americans in Trumbull County at the time of the Davie trial in 1992. The Wiley affidavit

had originally been submitted in a federal habeas corpus proceeding involving Roderick

Davie.

         f~109) In her affidavit, Wiley first concluded that, since African-Americans had
constituted six percent of the population of Trumbull County as of the date of the Davie

trial, that group had been underrepresented in the Davie jury venire because no African-

Americans had been included in that venire. Wiley further concluded that the

underrepresentation "represented" a statistically significant deviation, and that the
deviation would not have occurred unless there had been some form of systematic
discrimination.

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              f~110) Obviously, in submitting the Wiley affidavit as part of the evidentiary

  materials accompanying his postconviction petition, appellant was attempting to show

 that African-Americans had been excluded from the jury venire in a prior death-penalty

 case in Trumbull County. In further support of this point, appellant also submitted the

 affidavit of an attorney who stated that, in attending the separate trial of co-defendant

 Donna Roberts, he had noticed that the twelve-person jury in that case did not have any

 African-Americans. Therefore, when considered as a whole, appellant's exhibits

 indicated that there had been two death-penalty          cases in Trumbull County in which

African-Americans had been underrepresented in the entire jury venire, and there had

been a third case in which no African-Americans had sat on the final jury.

            f~ll1) Upon reviewing the prior precedent in this state regarding the "fair cross-
section" requirement of the Sixth Amendment, this court concludes that appellant's

exhibits were insufficient to make a prima facie showing of systematic exclusion of

African-Americans. In State v. McNeil (1998), 83 ,Ohio St.3d 438, the Ohio Supreme

Court's analysis of the third prong of the Fulton test consisted of the following:

           f~l12) "Moreover, (the defendant'sJ systematic-exclusion claim is based solely on

alleged underrepresentation on his venire. But underrepresentation on a single venire

is not systematic exclusion. See Ford v. Seabold (CA. 6, 1988), 841 F.2d 677, 685.
Cf. (Duren v. Missouri (1979), 439 U.S. 357,J at 366, *** (discrepancy 'not just

occasionally, but in every weekly venire for a period of nearly a year' showed systematic

exclusion)." (Emphasis sic.) Id. at 444.

           f~113) In light of the reference in McNeill to the Duren precedent, it follows that a

prima facie showing of systematic exclusion must be predicated upon a continuing


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   pattern of underrepresentation. Thus, the conclusory statement in the Wiley affidavit,

  based solely on her analysis of the jury venire in the Davie case, would not be sufficient

  to establish a continuing pattern. Similarly, in light of the fact that the trial in the instant

  case was held approximately ten years after the trial in Davie, it cannot be said that the

  underrepresentation in both cases shows a continuing pattern.

              f~1l4) As an aside, this court would further note that the affidavit appellant
  submitted in regard to the Donna Roberts trial only related to the composition of the final

 jury; Le., there was no statement in the affidavit as to the composition of the entire petit

 jury venire. To this extent, the affidavit was not relevant to the issue of possible
. discrimination in the selection of the jury venire. However, even if the affidavit had

 pertained to the entire jury venire, this still would only be sufficient to demonstrate an

 "occasional" discrepancy. Therefore, since appellant's evidentiary materials did not

 make a prima facie showing as to each prong of the Fulton test, the trial court properly

 rejected his assertion that his petit jury venire had not consisted of a fair cross-section

of the community.

            f~llS) In relation to the selection and composition of the venire, appellant's brief
also contains the conclusory statement that the underrepresentation of African-

Americans violated his federal right to equal protection under the law. Even though

appellant failed to present a complete argument as to this point, this court would note

that the Supreme Court has stated that, in using statistical evidence to establish the

exclusion of a "class" of people, the defendant must be able to show that the exclusion

has occurred over a significant period of time. McNiel1 at 444. In this             case, since

appellant was only able to demonstrate that the underrepresentation of African-

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  Americans on the petit jury venire only occurred twice in approximately ten years, his

  evidentiary materials were insufficient to meet the requirement that any exclusion had

  taken place over a "significant period."

         (~116) For the foregoing reasons, this court holds that the trial court did not err

 in concluding that appellant had failedto submit sufficient evidence to support his claim

 of discrimination in the selection of the petit jury venire.2

         f~117) In the eighth cause of action, appellant contends that he was denied the

 effective assistance of trial counsel during the pretrial stages of the proceedings.

         f~118) In State v. Pierce (1998), 127 Ohio App.3d 578,586, this court explained

 that in asserting a claim of ineffective assistance of counsel, a petitioner must submit

 material containing operative facts that demonstrate both prongs of the two-part test set

 forth in Strickland v. Washington (1984), 446 U.S. 668, 687. The first part is that

 counsel's performance was deficient, and the second part is that the deficient

performance prejudiced the defense. . In order to demonstrate prejudice, a petitioner

needs to show a reasonable probability that, if not for counsel's errors, the result of the

trial would have been different. State v. Bradley (1989),42 Ohio St. 3d 136, 143.

        f~119) In the case at bar, the trial court determined that none of the exhibits
attached to appellant's petition even remotely suggested that his trial counsel was
ineffective.

        (~1201 First, appellant maintains that his counsel failed to develop any significant
information concerning his co-defendant's role in the homicide. As to this point, this



2, In disposing of appellant's contentions concerning the underrepresentation of African-Americans on
the petit jury, this court considered appellant's two supplemental submissions which were filed after oral
arguments in this appeaL.                                                                  Jackson Apx. Vol. 17
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  court would merely note that, under his ninth cause of action in this assignment,
  appellant has also presented an argument concerning whether he was denied effective

 assistance as a result of trial counsel's failure to submit evidence regarding the role of

 Donna Roberts in the murder. For the sake of clarity, we wil consider the merits of the

 instant argument pertaining to her as part of our discussion under the ninth cause of

 action.

             f~121) Second, appellantasserts that the victim, Fingerhut, was involved in illegal

 activities that were not brought to the attention of the jury. However, appellant failed to

 inform the court as to what those activities were, or, more importantly, how they had any

 effect on the shooting.

            f~122) Next, appellant claims that his trial counsel did not delve into the

 "dysfunctional" relationship between Roberts and Fingerhut. Contrary to appellant's

claim, the jury was aware that the couple had been divorced yet still        lived together; and,
during this time, Roberts was involved in a relationship with appellant. Beyond the
classic triangle, appellant has failed to elucidate any other oddities of their relationship.

It is worth noting once again, his defense was self-defense. Without further facts, the

relevance of these allegations to appellant's self-defense theory is nonexistent.

           f~123) Appellant also contends that his trial counsel at mitigation failed to fully
develop the extent of his "sig.nificant mental impairment." It is clear to this court that the

claim of appellant's mental impairment was questionable at best. He was tested shortly

after his arrest in this case and his scores were significantly higher than when he had

been tested in high schooL. Thus, this lack of emphasis was, arguably, a matter of trial

strategy that trial counsel employed.

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         f~124) Next, appellant maintains that his trial counsel did not challenge the grand

 jury or petit jury venires, nor the grand jury foreperson, for lacking in adequate African-

 American representation. As to this issue, this court would again note that, as part of

 his postconviction petition, appellant tried to present evidence to establish that

 discrimination had occurrêd in the selection of the grand jury foreperson, the grand jury

 venire, and the petit jury venire. As was discussed previously under this assignment
 and the fifth assignment, we conclude that his evidence was not sufficient to make a

 prima facie showing of improper exclusion of African-Americans. In light of this, it
follows that appellant's trial counsel' was not ineffective by failing to assert these

particular points during the triaL.

        f~12S) Appellant next complains that his trial counsel did not attempt to suppress

appellant's statement to the police on the grounds that his school records showed an
I'Q. of 70 and 72 when he was 13 and 17 years old, respectively. However, as the trial

court stated in its judgment, those facts would not have affected its opinion that

appellant gave a voluntarY,and self-serving statement to the investigators.

       f~126) A failure to move to suppress is not per se ineffective assistance of
counsel unless there is prejudice. State v. Loza (1994), 71 Ohio St.3d 61, 83. The
facts indicate that it would have been extremely unlikely that such a motion would have

been granted. Even without this statement admitting the shooting, the physical

evidence coupled with the numerous letters planning this murder were abundantly

sufficient to convict him.

       f~127l Next, appellant contends that his trial attorneys conducted an inadequate

investigation into the power and control that Roberts had over him, including her

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  pursued the possibility that Roberts had actually been present during the commission of

 the murder.

                f~13l) In raising the foregoing two points in his petition for postconviction relief,

 appellant submitted thirteen new exhibits which, inter alia, included copies of nine police

 reports. Ou( review of these exhibits readily indicates that they can be divided into two

 basic categories. The first category consisted of documents that pertained to Roberts'

 tendency to          have relationships with African-American males. For example, appellant

 presented a copy of a written statement which an African-American male, Santiago

 Mason, gave to police officers after Roberts had accused him of stealing certain
property from her place of business. According to Mason, Roberts tried to seduce him

immediately after they had met and offered to give him money so that he could have his

driver's license reinstated. Mason further stated that when he later refused to have
sexual relations with her, she started causing trouble for him at his place of

employment.

               f~132) Upon reviewing all of the documents in the first category of exhibits, this

court would agree that the documents demonstrate that Roberts wanted to date African-

American males in g.eneral and would provide gifts to them in order to sustain the

relationship. However, there is no indication in the documents that once Roberts had

developed the relationship, she would then "use" the African-American males to commit

illegal acts for her. Although appellant asserts in his appellate brief that the Mason
statement establishes that Roberts had attempted to persuade another African-

American male to commit the murder, our review of the document simply does not



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 support his assertion. At best, all of the exhibits only indicate that Roberts tried to treat

 these individuals well so that she could maintain her relationship with them.

        f~133) The same basic conclusion can be drawn in regard to appellant's
 assertion that Roberts was a person of superior intelligence. Although there was some

 support in appellant's evidentiary materials that Roberts had at least moderate
 intelligence, there was nothing in those materials to indicate that she used this

 intelligence to induce other individuals of lesser intelligence to commit criminal offenses

for heL To this extent, this court concludes that the first category of appellant's exhibits

would not have been admissible for the purpose of establishing a pattern of
manipulative behavior on the part of Roberts.

       f~r134) In addition, our review of the exhibits does not support the holding that the

submission of evidence as to the difference between the intelligence of Roberts and

appellant would have affected the outcome of the guilt phase of the triaL. As to this

point, we would emphasize that the state submitted evidence during the guilt phase

concerning the communications between appellant and Roberts prior to his release from

prison. This evidence showed, at the very least, that appellant played an equal role in

the planning of the murder. Therefore, it is extremely unlikely that evidence relating to

Roberts' basic intelligence would have altered the jury's conception as to the nature of

the relationship between her and appellant.

       r~13S) Finally, and most importantly, this court would emphasize that appellant's

sole defense during the guilt phase of his trial was that he had acted in self-defense in

the shooting of Fingerhut. Thus, the submission of evidence as to Roberts'

manipulative ability would have resulted in the presentation of contradictory theories of

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 the case to the jury. In light of the fact that the defense of self-defense was predicated

 upon appellant's own confession, it cannot be said that appellant's trial attorneys

 rendered ineffective assistance by failing to pursue a separate legal theory for purposes

 of the guilt phase of the triaL.

        f~136) The second category of exhibits which appellant presented in regard to

 Roberts pertained to her possible role in the actual commission of the murder. Included

'in this set of exhibits was a copy of a police report which noted that Roberts had specks

 of a red substance on her blouse while the police were conducting their initial search of

 the premises. In addition, appellant submitted a copy of a report which stated that the

 test for gun residue on her hands immediately after the shooting had rendered

 inconclusive results.

        f~137ì In relation to these exhibits, this court would again indicate that, under

appellant's version of the various events, the shooting took place during a confrontation

between himself and Fingerhut. Accordingly, if trial counsel had presented evidence

during the guilt phase as to the possibility that Roberts had committed the murder, this

would have conflicted with appellant's primary theory that he had committed the offense

in self-defense. As a result, we hold that, since appellant's evidentiary materials were


insufficient to establish that his trial counsel failed to raise a viable argument concerning

the role of Roberts, the trial court did not err in rejecting the ninth cause of action of his

postconviction petition.

       fi,138) In his original petition under the tenth cause of action, appellant asserted

that his trial counsels' actions during the culpabilty stage of the proceedings denied him

his right to effective assistance of counseL. However, appellant's tenth cause of action

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  in a four-point change in the final result, i.e., from 84 to 80. Under Ohio law, there is a

  rebuttable presumption that a criminal defendant is not mentally retarded if the result of

  his 10 test is greater than 70. State v. Lott, 97 Ohio St.3d 303, 2002-0hio-6625. Thus,

  the difference in appellant's 1.0. would not have changed his basic status under the

  intelligence scale.3        In light of the overwhelming nature of the aggravating

 circumstances in this case, this four-point error in calculation would not have altered the

 jury's weighing exercise in determining whether to recommend the death penalty.

         f~r144) In relation to the second assertion, we would indicate that the
 determination of which psychological test to perform was clearly within the discretion of

 Dr. McPherson. Although appellant's evidentiary materials were sufficient to show that

 other tests could have been performed, the materials did not establish that Dr.

 McPherson had acted below the standard of care for psychologists in choosing which

 test to perform. In other words, there is no indication in the record that Dr. McPherson's

 actions did not fall within the acceptable range for her profession.

         f~145J Finally, as to the quality of Dr. McPherson's testimony, our review of the

trial transcript shows that her testimony during the mitigation phase was clearly intended

to emphasize certain facts about appellant's background, i.e., that he had attention

deficit disorder and that he had been infatuated with Roberts. In the evidentiary

materials attached to his postconviction petition, appellant merely raised the possibilty

that other aspects of his childhood should have been given greater emphasis by Dr.

McPherson. There is nothing to suggest that Dr. McPherson's testimony was below the



3, In addition to recalculating the final score based upon the findings of Dr, McPherson, the new
psychologist also administered a new "1.0." test on appellant. Although the final score of the new test
was different than the proper score under Dr. McPherson's test, it still did not fall within the range of
scores which must be found in order for a person to be considered mentally retarded.         Jackson Apx. Vol. 17
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  professional level of proper evaluation. Moreover, this disagreement in strategy is not

 sufficient to establish that appellant was denied access to proper expert assistance
 during his triaL.

         f~146) Pursuant to the foregoing analysis, this court concludes that the trial court

 did not err in rejecting appellant's claims regarding the competency of Dr. McPherson.

 Thus, his eleventh argument lacks merit.

        f~147) In regard to his twelfth cause of action, appellant submits that the trial
 court should have vacated its original sentencing judgment because his evidentiary

 materials showed that the court's prior weighing exercise had been based on insufficient

 evidence. In support of this argument, appellant again cites Dr. McPherson's failure to

 refer to his miserable childhood during her testimony at triaL.

        f~148) Simply stated, appellant's this particular argument merely restates the
basic points set forth under his eleventh cause of action. That is, appellant asserts that

the trial court did not base its weighing exercise upon the proper facts because Dr.
McPherson failed to emphasize those facts in her testimony. As to this point, this court

would again indicate that the choice of which aspects of appellant's childhood to

emphasize before the jury was a matter of strategy for trial counsel and professional

judgment for Dr. McPherson. After reviewing the transcript of the mitigation phase, this

court concludes that the trial court did not err in finding that Dr. McPherson's testimony

set forth a viable mitigation argument for appellant.

       f~149) Under his thirteenth cause of action, appellant contends that the trial court

erred when it rejected his claim that the state's use of a lethal injection in the imposition

of the death penalty constitutes cruel and unusual punishment. In regard to this point,

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 we would first indicate that this claim does not raise an issue pertaining to the propriety

 of appellant's criminal triaL. To this extent, a postconviction proceeding is not the proper

 legal context in which to litigate this issue; instead, this type of issue should be raised in

 a declaratory judgment or habeas corpus action.

        f~150) Moreover, as to the substance of this argument, our review Òf the relevant

 case law shows that the basic assertions raised in the evidentiary materials relating to

 this point have previously been rejected as insufficient to establish that Ohio's use of the

 lethal-injection method is unconstitutionaL. See Cooper v. Rimmer (6th Cir., 2004), 358

 F.3d 655.


        f~lS1) As to his fourteenth cause of action in his postconviction petition, appellant

 maintains that Ohio's postconviction relief procedure should be declared

 unconstitutional because the statutes create so many procedural hurdles for a criminal

defendant to overcome that it is simply too difficult to obtain relief. As to this point, this

court would first note that we have expressly held that the constitutionality of the

postconviction procedure can only be properly challenged in a habeas corpus

proceeding. State v. Wiles (1998), 126 Ohio App.3d 71. Furthermore, the appellate
courts of this state have generally upheld the constitutionality of RC. 2953.21 et seq.
See, e.g., State v. Hutton, 8th Dist. No. 76348, 2004-0hio-3731. In again raising. this

issue in the present case, appellant has failed to assert any new argument which would

warrant the reconsideration of this matter.

       f~lS2j In the fifteenth cause of action, appellant contends that even if this court

finds no merit to his first fourteen causes of action, the "cumulative effect" of those

causes of action violated his constitutional rights. Under the doctrine of cumulative


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 error, a judgment can be reversed when the cumulative effect of numerous errors

 deprives a defendant of his constitutional rights, even if the individual errors are so

 small that not one in particular rises to the level of prejudicial error. State v. DeMarco

 (1987),31 Ohio St.3d 191, 196-197.


        f~lS3) However, it is clear appellant failed to demonstrate that even one cause of

 action amounted to harmless error. Although there were some instances in which the

 trial court's res judicata analysis was incorrect, there was no need for any harmless
 error analysis in regard to the trial court's findings as to the actual substance of the

 claims for postconviction relief. To this extent, the cumulative effect amounts to nothing.

        f~lS4) Based upon the foregoing analysis, appellant's sixth assignment of error is

without merit.

       (~15S) The judgment of the trial court is hereby affirmed.



COLLEEN MARY O'TOOLE, J., concurs,

WILLIAM M. O'NEILL, J., concurs with Concurring Opinion.



WILLIAM M. O'NEILL, J., concurring.

       f~lS6) i concur with the well-reasoned majority opinion, but write separately to
emphasize the significance of this court's application of the doctrine of res judicata in a

capital murder case. Nowhere is the concept of "one bite at the apple" more important

than when the state is seeking to impose the death penalty upon one accused of
murdering another. When a client is facing the death penalty, both the client and his



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  counsel are on notice that decisions on trial strategies will have profound
  consequences.

              f~lS7) In a petition for postconviction relief, Jackson's counsel has raised the
 very serious question of raCÎal imbalance in both jury selection and prosecution of

 capital murder cases in Trumbull County. This is a constitutional question of significant

 import. As stated by the Supreme Court of Ohio, '''the selection of a petit jury from a

 representative cross section of the community is an essential component of the Sixth

 Amendment right to a jury triaL.
                                     ,"4 The court went on further to hold that:

             fi,lS8) "A defendant may also reasonably bring a federal equal protection
 challenge to the selection and composition of the petit jury by adducing statistical
 evidence which shows a significant discrepancy between the percentage of a certain

 class of people in the community and the percentage of that class on the jury venires,

 which evidence tends to show discriminatory purpose, an essential element of such

cases."5

            f~159) In addition to the question of racial imbalance~ appellant challenges the

trial court's refusal to appoint an expert to assist him in researching and clarifying the

extent of the problem.

           f~160) In support of this position, appellant's counsel directs this court's attention

to the recently decided case of United States v. Rodriguez-Lara, which is clearly on

point. As stated by the court:




4. State v. Fulton (1991),57 Ohio St.3d 120,123, quoting Taylorv. Louisiana (1975), 419 U.S. 522, 528,
5, Id, at 123-124.                                                                        Jackson Apx. Vol. 17
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              f~161) "The selection of a grand or petit jury in violation of either the equal
  protection or the fair cross-section guarantee is structural error that entitles a defendant

  to relief without a demonstration of prejudice.,,6

              f~162) In reversing the conviction, the federal appellate court went on to explain

 the inherent injustice in the denial of expert assistance in a statistical analysis case.

              f~163) "Rodriguez's failure to complete his prima facie case is not fatal to his

 appeal of the denial of his motion to have an expert appointed. Indeed, conditioning the

 entitlement to an expert on a defendant's establishing a prima facie case would make

 litte sense: such a rule would provide assistance to a defendant only upon a
 demonstration that he does not                            require it. Instead, we must determine whether (1)
 'reasonably competent counsel would have required the assistance of the requested

 expert for a paying client,' and (2) the defendant 'was                      prejudiced by the lack of expert
assistance .",7

            fi,164) This court has recently addressed this very question in a postconviction

petition dealing with the mental retardation of an individual who was found guily in a

capital murder case. As we stated in State v. Lorraine:

            f~r16S) "(Tlhe logic utilized by the trial court, that Lorraine failed to present any

evidence demonstrating that an expert is necessary to achieve a different result, falls in

on itself. An indigent, postconviction petitioner cannot be required to show that an
expert is needed to prove he is mentally retarded if an expert would indeed be required

to make that showing.




6. (Citations omitted.) United States v. Rodriguez-Lara (CA9, 2005), 421 F,3d 932, 940.
7, (Emphasis added.) Id, at 946, quoting United States v. Nelson (CA9, 1998), 137 F.3d 1094, 1101, fn.
2.                                                                                       Jackson Apx. Vol. 17
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          f,166J "We conclude the trial court erred and abused its discretion in denying
  Lorraine's request for expert assistance for the purposes of demonstrating he is

  mentally retarded pursuant to Atkins(8J.1i9

          f~167) Unlike the matter at hand, the Lorraine decision was not hampered by the

 doctrine of res judicata, as the Supreme Court of Ohio had ruled in State v. Loft that the

 rights being protected in mental retardation/capital punishment cases were to be applied

 retrospectively.1o Thus, even though Lorraine was convicted in 1986, he could proceed

 with his petition for postconviction relief because of the retrospective application ordered

 by the Supreme Court of Ohio in State v. Loft.

         f~168) The inquiry in this matter, however, does not stop with the question of
 whether or not the appointment of an expert would have assisted this appellant in this

 proceeding. Undoubtedly, it would have assisted him. However, in a res judicata and
 ineffective assistance of counsel hybrid analysis, there is the additional distinction to be

made between theories of defense that should have been raised, and those that could

have been raised. It is not possible to raise every single conceivable defense in every

case. Nor is it logical to require defense counsel to waste his or her, or the court's,

limited resources searching to the very end of every blind alley.

        f~169J The evidence in this case was overwhelming. Appellant fired the fatal
shots. In my opinion, the most racially balanced and favorable jury in the world,

composed of appellant's friends, relatives, and acquaintances, would have readily

accepted that proposition. A self-defense theory was the only avenue open to defense



8, Atkins v. Virginia (2002), 536 U.S. 304.
9, State v. Lorraine, 11th Dist. No. 2003- T -0159, 2005~Ohio~2529, at i130-31.
10. State v. Lott, 97 Ohio St. 3d 303, 2002~Ohio~6625, at i117,                   Jackson Apx. Vol. 17
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  counseL. When the strategic decision to mount the self-defense theory was in play,

  obviously any racial imbalance in the composition of the jury was also in existence on

 that same day. Counsel clearly could have explored that defense strategy at that time.

  He did not.

             f~170) Conversely, it is intellectúally disingenuous to fault counsel for an
 unsuccessful self-defense strategy and for not turning every stone in his search for a

 different defense. In the instant matter, defense counsel made a defensible, tactical,

 and strategic decision to pursue a self-defense theory. It did not work. Pursuant to the

 doctrine of res Judicata, defense counsel is not now        required or permitted to change
 course and pursue a different strategy. As the trial court properly held, a defense that

could have been raised, and was not, is barred by res judicata.

            fi,l71¡ i write also to defend the doctrine of res judicata. Much attention is
directed to the beneficial effect of the doctrine in bringing finality to a proceeding. All

trials must end at some point. But there is a second, and perhaps more compellng,

aspect to the doctrine. I n order for outcomes to be worthy of support, they must be the

result of a fair triaL. And fairness at its core requires that all the cards be placed on the

table at the same time. i refer to that as the "could have, should have" aspect of res

judicata. Errors in proceedings must be raised and addressed at a time when they can
reasonably be corrected. It would be wrong to allow a party to remain silent prior to or

during trial, where he has knowledge of a reversible error that could be corrected at the

time, only to raise the error after he has been convicted and sentenced. Under the

doctrine of "invited error," "ra) party will not be permitted to take advantage of an error



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  which he himself invited or induced the trial court to make.1i11 To permit Jackson to

  pursue his claim at this time would be tantamount to condoning an invited error. Such a

  proposition would reduce courts to the position of referees in an elaborate game of

 "gotcha" designed to determine who had the most skillful lawyer. That is not the law in

 Ohio.

         f~l72j In conclusion, I feel the trial court's ruling was correct. Is there racial
 imbalance in the Trumbull County jury selection process? I do not know. Could that

 have been raised at the trial? Yes.. Was it? No. Therefore, the trial court properly held

 that, as far as the composition of the jury is èoncerned, the doctrine of res judicata

 applies to bar this claim.




11. Lester v, Leuck (1943), 142 Ohio St 91, paragraph one of the syllabus.    Jackson Apx. Vol. 17
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       STATE OF OHIO )                                        IN THE COURT OF APPEALS
                                             )SS.
       COUNTY OF TRUMBULL )                                   ELEVENTH DISTRICT


       STATE OF OHIO,

                      PlaintiJf -Appellee,
                                                                JUDGMENT ENTRY
              - vs-                                          UPON RECONSIDERATION

       NATHANIEL JACKSON,                                    CASE NO. 2004- T -0089

                      Defendant-Appellant.



           For the reasons stated in the Opinion Upon Reconsideration of this court, the

       assignments of error are without merit. It is the judgment and order of this court

       that the judgment of the trial court is affirmed.




       COLLEEN MARY O'TOOLE, J., concurs,

       WILLIAM M. O'NEILL, J., concurs with Concurring Opinion.




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                                                               COURT OF 1~,PPEALS

                                                                   MAY 3 ;) 2005
                                                               TRUMBULL COUNTY, OH
                                                           KAREN INFANTE ALLEN, CLERK



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